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                 EXHIBIT 4
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 1   Reed R. Kathrein (139304)
     Danielle Smith (291237)
 2   HAGENS BERMAN SOBOL SHAPIRO LLP
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 4   Telephone: (510) 725-3000
     Facsimile: (510) 725-3001
 5   reed@hbsslaw.com
     danielles@hbsslaw.com
 6
     Attorneys Lead Plaintiff Trigon Trading Pty. Ltd.
 7
 8
 9                           UNITED STATES DISTRICT COURT
10                        NORTHERN DISTRICT OF CALIFORNIA
11

12                                                       Master File No. 17-cv-06779-RS
     IN RE TEZOS SECURITIES LITIGATION
13                                                       CLASS ACTION
14   This document relates to:                           DECLARATION OF REED R.
                                                         KATHREIN IN SUPPORT OF LEAD
15          ALL ACTIONS.                                 COUNSEL’S MOTION FOR AN
                                                         AWARD OF ATTORNEYS’ FEES AND
16                                                       LITIGATION EXPENSES AND
                                                         CHARGES
17
                                                         FILED ON BEHALF OF LEAD
18                                                       PLAINTIFF TRIGON TRADING PTY.
                                                         LTD.
19
                                                         Date:        August 27, 2020
20                                                       Time:        1:30 p.m.
                                                         Courtroom:   3, 17th floor
21                                                       Judge:       Hon. Richard Seeborg
22
23
24
25
26
27
28

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     DECLARATION OF REED R. KATHREIN
                Case 3:17-cv-06779-RS Document 257-4 Filed 07/28/20 Page 3 of 49



 1           I, Reed R. Kathrein, Esq., pursuant to 28 U.S.C. § 1746, hereby declare as follows:
 2         1.           I am admitted to practice law before all of the courts of the State of California and
 3   I am admitted as counsel in this Action. I am a partner of the law firm Hagens Berman Sobol
 4   Shapiro LLP (“Lead Counsel”), counsel for Lead Plaintiff Trigon Trading Pty. Ltd. (“Lead
 5   Plaintiff”). I respectfully submit this declaration in support of Lead Counsel’s Motion for an
 6   Award of Attorneys’ Fees and Reimbursement of Litigation Expenses.
 7         2.           I have personally participated in, overseen, and monitored the prosecution of this
 8   Action, and have otherwise been kept informed of developments in this Litigation by attorneys
 9   working with me and under my supervision. Thus, if call upon, I can testify to the matters set
10   forth herein.
11         3.           As counsel for Lead Plaintiff, my firm was involved in all aspects of the litigation

12   and its settlement as set forth in the Declaration of Jeffrey C. Block in Support of: (1) Lead
13   Plaintiff’s Motion for Final Approval of Class Action Settlement and Plan of Allocation; and (2)
14   Lead Counsel’s Motion for an Award of Attorneys’ Fees and Reimbursement of Litigation
15   Expenses.
16         4.           Attorneys and Professional Support Staff at my firm billed the following
17   aggregate hours to this matter as of the date of filing, with fees applied at the firms current
18   billing rates:
19                    Timekeeper         Type        Hours         Hourly Rate           Total

20
                Reed R. Kathrein           P          307.5           $850               $261,375.00
21
                Danielle Smith             A          652.6           $525               $342,615.00
22
23              Lisa Lin                  PL          47.9            $300                $14,370.00

24
                Total                                                                    $618,360.00
25
             P = Partner; A = Associate; PL = Paralegal
26
           5.           Hagens Berman Sobol Shapiro LLP directly seeks payment of the following
27
     expenses and charges directly related to the litigation of this action (which have been
28
     summarized in categories):
     MASTER FILE NO. 17-CV-06779-RS
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 1                                          Category                      Expense

 2
                      Expert Witnesses                                          $0.00
 3
                      Travel (Flights, Lodging, Meals)                      $2,751.62
 4
 5                    Document Review Software                                  $0.00

 6
                      Legal Research                                        $1,954.59
 7
                      Mediation Fees                                        $5,500.00
 8
 9                    Court Fees / Filing Fees                                $400.00

10                    Court Reporters / Depositions                             $0.00

11
                      Printing                                                  $0.00
12
                      Process Servers                                       $4,064.50
13
14                    Shipping & Postage                                      $137.74

15
                      Total Expenses                                       $14,808.45
16
17
          6.        Attached as Exhibit A is a true and correct copy of Hagens Berman Sobol Shapiro
18
     LLP’s firm resume.
19
          7.        Attached as Exhibit B is a summary chart describing the work described in
20
     Paragraph 4, above.
21
            I declare under penalty of perjury that the foregoing is true and correct. Executed on this
22
     28th day of July 2020, at Berkeley, California.
23
                                                         By: /s/ Reed R. Kathrein
24                                                       Reed R. Kathrein (State Bar No. 139304)
                                                         Hagens Berman Sobol Shapiro LLP
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                                                         Berkeley, California 94710
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27                                                       Counsel to Lead Plaintiff Trigon Trading Pty.
                                                         Ltd.
28

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                   Exhibit A
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HAGENS BERMAN




                                                      EXPERIENCE.
                                                      INNOVATION.
                                                         RESULTS.
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                                                              HAGENS BERMAN SOBOL   SHAPIRO LLP




Hagens Berman is a national leader in class-action
litigation driven by a team of legal powerhouses. With
a tenacious spirit, we are motivated to make a positive
difference in people’s lives.




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                                                                          HAGENS BERMAN SOBOL                                                                                        SHAPIRO LLP




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                                                                 HAGENS BERMAN SOBOL                        SHAPIRO LLP




INTRODUCTION

The Firm

Hagens Berman Sobol Shapiro LLP was founded in 1993 with one purpose: to help victims with claims
of fraud and negligence that adversely impact a broad group. The firm initially focused on class action
and other types of complex, multi-party litigation, but we have always represented plaintiffs/victims. As
the firm grew, it expanded its scope while staying true to its mission of taking on important cases that
implicate the public interest. The firm represents plaintiffs including investors, consumers, inventors,
workers, the environment, governments, whistleblowers and others.




We are one of the nation’s leading class-action law firms and have earned
an international reputation for excellence and innovation in ground-
breaking litigation against large corporations.

OUR FOCUS. Our focus is to represent plaintiffs/victims in product liability, tort, antitrust, consumer
fraud, securities and investment fraud, employment, whistleblower, intellectual property, environmental,
and employee pension protection cases. Our firm is particularly skilled at managing multi-state and
nationwide class actions through an organized, coordinated approach that implements an efficient and
aggressive prosecutorial strategy to place maximum pressure on defendants.

WE WIN. We believe excellence stems from a commitment to try each case, vigorously represent the
best interests of our clients, and obtain the maximum recovery. Our opponents know we are determined
and tenacious and they respect our skills and recognize our track record of achieving top results.

WHAT MAKES US DIFFERENT. We are driven to return to the class every possible portion of its
damages—our track record proves it. While many class action or individual plaintiff cases result in large
legal fees and no meaningful result for the client or class, Hagens Berman finds ways to return real
value to the victims of corporate fraud and/or malfeasance.

A NATIONWIDE REACH. The scope of our practice is truly nationwide. We have flourished through
our network of offices in eight cities across the United States, including Seattle, Boston, Chicago, Los
Angeles, New York, Phoenix, San Francisco and San Diego. Our reach is not limited to the cities where
we maintain offices. We have cases pending in courts across the country, with substantial activity in
California, New York, Washington, Arizona and Illinois.




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INTRODUCTION

Locations




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(206) 623-0594 fax                (617) 641-9551 fax                         (917) 210-3980 fax

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(617) 482-3003 fax                (213) 330-7152 fax                         (619) 929-3340 phone




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‘‘ …the track record of Hagens
  Berman[’s] Steve Berman is…
  impressive, having racked…
                                                                       ‘‘                  ‘‘
                                                                              Class counsel has consistently
                                                                            demonstrated extraordinary skill
                                                                            and effort.
                                                                            — U.S. District Judge James Selna, Central District
  a $1.6 billion settlement in the Toyota                                     of California, In re Toyota Motor Corp. Unintended

  Unintended Acceleration Litigation            ‘‘                            Acceleration Marketing, Sales Practices and Products




                                                                       ‘‘
                                                                              Liability Litigation
  and a substantial number of really
  outstanding big-ticket results.                                             Berman is considered one of the
                                                                                                                                  ‘‘
  — Milton I. Shadur, Senior U.S. District Judge, naming
    Hagens Berman Interim Class Counsel in Stericycle
                                                                            nation’s top class-action lawyers.
    Pricing MDL                                                             — Associated Press




                                             Elite Trial Lawyers
                                                  The National Law Journal


    The Plaintiffs’ Hot List: The Year’s Hottest Firms
                                                  The National Law Journal


                                Most Feared Plaintiffs Firms
                                                                   Law360




‘‘                                                                     ‘‘
    Landmark consumer cases are
                                                             ‘‘                All right, I think I can conclude on
  business as usual for Steve Berman.                                       the basis with my five years with you
  — The National Law Journal, naming Steve Berman one of                    all, watching this litigation progress
    the 100 most influential attorneys in the nation for the
                                                                            and seeing it wind to a conclusion,
    third time in a row
                                                                            that the results are exceptional...                   ‘‘
‘‘
                                                                            You did an exceptionally good job at

    [A] clear choice emerges. That
                                                          ‘‘                organizing and managing the case...
                                                                            — U.S. District Court for the Northern District of
  choice is the Hagens Berman firm.                                           California, In re Dynamic Random Access Memory
                                                                              Antitrust Litigation (Hagens Berman was co-lead
  — U.S. District Court for the Northern District of California,              counsel and helped achieve the $325 million class
    In re Optical Disk Drive Products Antitrust Litigation                    settlement)
    (appointing the firm lead counsel)



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VISA-MASTERCARD ANTITRUST LITIGATION                        VOLKSWAGEN EMISSIONS LITIGATION

The firm served as co-lead counsel in what was              Hagens Berman was named a member of the
then the largest antitrust settlement in history –          Plaintiffs’ Steering Committee and part of the
valued at $27 billion.                                      Settlement Negotiating team in this monumental
                                                            case that culminated in the largest automotive
VOLKSWAGEN FRANCHISE DEALERS LITIGATION                     settlement in history – $17.4 billion.
The firm served as lead counsel representing                TOYOTA UNINTENDED ACCELERATION LITIGATION
VW franchise dealers in this suit related to the            Hagens Berman obtained the then largest
automaker’s Dieselgate scandal. A $1.6 billion              automotive settlement in history in this class
settlement was reached, and represents a result             action that recovered $1.6 billion for vehicle
of nearly full damages for the class.                       owners.


                               STATE OF WASHINGTON, ET AL. V. PHILIP MORRIS, ET AL.

           Hagens Berman represented 13 states in the largest
              recovery in litigation history – $206 billion.

E-BOOKS ANTITRUST LITIGATION                                DRAM ANTITRUST LITIGATION
Hagens Berman served as co-lead counsel in this             The firm was co-lead counsel, and the case
matter and secured a combined $560 million                  settled for $345 million in favor of purchasers of
settlement on behalf of consumers against                   dynamic random access memory chips (DRAM).
Apple and five of the nation’s largest publishing
companies.

LCD ANTITRUST LITIGATION                                    AVERAGE WHOLESALE PRICE DRUG LITIGATION

Hagens Berman served as a member of the                     Hagens Berman was co-lead counsel in this
Executive Committee representing consumers                  ground-breaking drug pricing case against
against multiple defendants in multi-district               the world’s largest pharmaceutical companies,
litigation. The total settlements exceeded                  resulting in a victory at trial. The court approved a
$470 million.                                               total of $338 million in settlements.

MCKESSON DRUG LITIGATION                                     ENRON ERISA LITIGATION
Hagens Berman was lead counsel in these                      Hagens Berman was co-lead counsel in this
racketeering cases against McKesson for drug                 ERISA litigation, which recovered in excess of
pricing fraud that settled for more than $444                $250 million, the largest ERISA settlement in
million on the eve of trials.                                history.
DAVITA HEALTHCARE PERSONAL INJURY LITIGATION
A Denver jury awarded a monumental $383.5                    CHARLES SCHWAB SECURITIES LITIGATION
million jury verdict against GranuFlo dialysis               The firm was lead counsel in this action alleging
provider DaVita Inc. on June 27, 2018, to families           fraud in the management of the Schwab
of three patients who suffered cardiac arrests and           YieldPlus mutual fund; a $235 million class
died after receiving dialysis treatments at DaVita           settlement was approved by the court.
clinics.

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                                                        Practice Areas




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                                                                HAGENS BERMAN SOBOL SHAPIRO                                                  LLP




PRACTICE AREAS

Anti-Terrorism

With a long track record of upholding the rights of the voiceless, Hagens Berman fights for
justice on behalf of victims of international terrorism. Our anti-terrorism legal team builds
on our robust history to forge innovative cases, bringing action against those that support
terrorism.

Hagens Berman has always believed in fighting for the rights           > Chiquita Bananas
of those with no voice – those who are victims to tragic                Hagens Berman represents American citizens who were victims
circumstances beyond their control. With our guiding principles         of terrorism in Colombia. The victims were harmed by Colombian
driving our efforts, the firm has expanded its practice areas to        terrorists that Chiquita Brands International Inc. paid so that it
include anti-terrorism litigation.                                      could grow bananas in Colombia in regions that were controlled
                                                                        by the terrorists. Chiquita is one of the world’s largest producers
It’s no secret that some businesses and individuals have pled guilty
                                                                        and marketers of fruits and vegetables and admitted it paid
to violating United States laws that prohibit financial transactions
                                                                        Colombian terrorist organizations as part of a guilty plea to settle
with terrorist organizations and foreign states that support
                                                                        criminal charges brought by the U.S. Department of Justice
terrorism. We believe that the law is one of the most powerful tools
to combat terrorism, and our renowned team of litigators brings         Chiquita was placed on corporate probation and paid a $25
a fresh perspective to the fight for victims’ rights in this complex    million dollar fine because of its conduct in Colombia.
arena.
                                                                        Plaintiffs have sued Chiquita under the U.S. Anti-Terrorism
Through a deep understanding of both U.S. and international             Act, which allows American victims of international terrorism
anti-terrorism laws, Hagens Berman builds on its foundation to          to sue anyone responsible and to recover treble damages and
investigate acts of terrorism and forge ironclad cases against          attorney’s fees. The claims are pending in the U.S. District Court
anyone responsible, to help ensure that those at the mercy of the       for the Southern District of Florida as part of the consolidated
world’s most egregious perpetrators of violence are represented         multidistrict litigation to resolve claims related to Chiquita’s
with the upmost integrity and determination.                            payments to Colombian terrorist organizations.

The firm’s new practice area carries out our mission of building
a safer world through novel applications of the law and steadfast
dedication.




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                                                                 HAGENS BERMAN SOBOL SHAPIRO                                                 LLP




PRACTICE AREAS

Antitrust

Hagens Berman works to preserve healthy marketplace competition and fair trade by protecting
consumers and businesses that purchase goods and services from price fixing, market
allocation agreements, monopolistic schemes and other trade restraints. The firm’s lawyers
have earned an enviable reputation as experts in this often confusing and combative area of
commercial litigation. Our attorneys have a deep understanding of the legal and economic
issues within the marketplace, allowing us to employ groundbreaking market theories that shed
light on restrictive anti-competitive practices.

Hagens Berman represents millions of consumers in several                > NCAA: Scholarships/Grants-In-Aid (GIAs)
high-profile class-action lawsuits, and takes on major antitrust         In a first-of-its-kind antitrust action and potentially far-reaching
litigation to improve market conditions for consumers, businesses        case, Hagens Berman filed a class-action affecting approximately
and investors. We have represented plaintiffs in markets as diverse      40,000 Division I collegiate athletes who played men’s or
as debit and credit card services, personal computer components,         women’s basketball, or FBS football, brought against the NCAA
electric and gas power, airlines, and internet services, and we have     and its most powerful members, including the Pac-12, Big Ten,
prevailed against some of the world’s largest corporations.              Big-12, SEC and ACC, claiming these entities violated federal
                                                                         antitrust laws by drastically reducing the number of scholarships
The firm has also generated substantial recoveries on behalf of
                                                                         and financial aid student-athletes receive to an amount below
health plans and consumers in antitrust involving pharmaceutical
                                                                         the actual cost of attendance and far below what the free market
companies abusing patent rights to block generic drugs from
                                                                         would bare.
coming to market. Hagens Berman has served as lead or co-
                                                                         The firm continues to fight on behalf of student-athletes to level
lead counsel in landmark litigation challenging anti-competitive
                                                                         the playing field and bring fairness to college sports and players.
practices, in the Paxil Direct Purchaser Litigation ($100 million),
                                                                         RESULT:   $208.9 million settlement, bringing an estimated average
Relafen Antitrust Litigation ($75 million), Tricor Indirect Purchaser
                                                                         amount of $6,500 to each eligible class member who played his
Antitrust Litigation ($65.7 million), and Augmentin Antitrust
                                                                         or her sport for four years.
Litigation ($29 million). Representative antitrust successes on
behalf of our clients include:                                          > Apple E-books
                                                                         With state attorneys general, the firm secured a $166 million
> Visa/MasterCard
                                                                         settlement with publishing companies that conspired with Apple
 Helped lead this record-breaking antitrust case against credit
                                                                         to fix e-book prices. The firm then look on Apple for its part in
 card giants Visa and MasterCard that challenged charges
                                                                         the price-fixing conspiracy. In the final stage in the lawsuit, the
 imposed in connection with debit cards.
                                                                         Supreme Court denied appeal from Apple, bringing the consumer
 RESULT:   $3.05 billion settlement and injunctive relief valued at
                                                                         payback amount to more than twice the amount of losses
 more than $20 billion.
                                                                         suffered by the class of e-book purchasers. This represents one
                                                                         of the most successful recovery of damages in any antitrust
                                                                         lawsuit in the country.
                                                                         RESULT:   $560 million total settlements.




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                                                                 HAGENS BERMAN SOBOL SHAPIRO                                                   LLP




PRACTICE AREAS

Antitrust

> Animation Workers Antitrust                                            > Lithium Ion Batteries
 Hagens Berman represents a nationwide class of animators                 Hagens Berman filed a class-action lawsuit against some of the
 and other artistic workers in an antitrust class-action case filed       largest electronics manufacturers including Sony, Samsung and
 against defendants Pixar, Lucasfilm and its division Industrial          Panasonic for illegally fixing the price of lithium ion batteries,
 Light & Magic, DreamWorks Animation, The Walt Disney                     pushing costs higher for consumers. Defendants collectively
 Company, Sony Pictures Animation, Sony Pictures Imageworks,              controlled between 60 to 90 percent of the market for lithium-
 Blue Sky Studios, ImageMovers LLC, ImageMovers Digital LLC               ion batteries between 2000 and 2011 and used that power to fix
 and others.                                                              battery prices.
 RESULT:   Total settlements have reached $168 million, resulting in a    RESULT:   $65 million in total settlements against multiple
 payment of more than $13,000 per class member.                           defendants.

> TFT LCDs                                                               > AC Nielsen
 Hagens Berman Sobol Shapiro filed a class-action lawsuit                 Represented Information Resources, Inc. (“IRI”), in a suit claiming
 against several major manufacturers of TFT LCD products,                 that AC Nielsen’s anti-competitive practices caused IRI to suffer
 claiming the companies engaged in a conspiracy to fix, raise,            significant losses.
 maintain and stabilize the price of televisions, desktop and             RESULT:   $55 million settlement.
 notebook computer monitors, mobile phones, personal digital
                                                                         > Dairy Products
 assistants (PDAs) and other devices. After years of representing
                                                                          The firm filed a class-action suit against several large players
 consumers against multiple defendants in multi-district litigation,
                                                                          in the dairy industry, including the National Milk Producers
 the case against Toshiba went to trial. Toshiba was found guilty of
                                                                          Federation, Dairy Farmers of America, Land O’Lakes, Inc.,
 price-fixing in 2012, and settled.
                                                                          Agri-Mark, Inc. and Cooperatives Working Together (CWT) that
 RESULT:   $470 million in total settlements.
                                                                          together produce nearly 70 percent of the milk consumed in
> DRAM                                                                    the United States. The suit alleging that the groups conspired
 The suit claimed DRAM (Dynamic Random Access Memory)                     to fix the price of milk throughout the United States through an
 manufacturers secretly agreed to reduce the supply of DRAM,              organized scheme to limit production, involving the needless and
 a necessary component in a wide variety of electronics                   premature slaughtering of 500,000 cows.
 which artificially raised prices. The class included equipment           RESULT:   $52 million settlement on behalf of consumers in 15 states
 manufacturers, franchise distributors and purchasers.                    and the District of Columbia who purchased dairy products.
 RESULT:   $375 million settlement.
                                                                         > Toys “R” Us Baby Products
> Optical Disk Drives                                                     The firm brought this complaint on behalf of consumers claiming
 Hagens Berman fought on behalf of consumers in a lawsuit filed           Toys “R” Us and several baby product manufacturers violated
 against Philips, Pioneer and others for artificially inflating the       provisions of the Sherman Antitrust Act by conspiring to inflate
 price of ODDs for consumers.                                             prices of high-end baby products, including car seats, strollers,
 RESULT:   $180 million in total settlements reclaimed for consumers.     high chairs, crib bedding, breast pumps and infant carriers. The
                                                                          suit asked the court to end what it claims are anti-competitive
                                                                          activities and seeks damages caused by the company’s actions.
                                                                          RESULT:   $35.5 million settlement.




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PRACTICE AREAS

Antitrust

> EA Madden                                                            > Nespresso
 Class action claimed that video game giant Electronic Arts used        Hagens Berman has assumed responsibility for a large antitrust
 exclusive licensing agreements with various football organizations     case against Nespresso, a leading single-serve espresso
 to nearly double the price of several of its games.                    and coffee maker, for its anticompetitive efforts to exclude
 RESULT:   $27 million settlement and imposed limits on EA’s ability    environmentally friendly, biodegradable coffee capsules from the
 to pursue exclusive licensing agreements.                              market.
                                                                        In May 2010, our client Ethical Coffee Company (“ECC”) sought to
> Resistors Antitrust Litigation
                                                                        introduce an environmentally sound and more economical coffee
 Hagens Berman is co-lead lead counsel, representing direct
                                                                        capsule to be used in Nespresso’s widely used coffee makers.
 purchasers of linear resistors (a device in electronics used to
                                                                        It manufactured a single-use coffee capsule that did not contain
 limit electric current) against an alleged cartel of manufacturers
                                                                        harmful aluminum found in Nespresso’s capsules. Nespresso
 who conspired to limit linear resistor price competition for
                                                                        knew that ECC posed a formidable challenge to its business
 nearly a decade. The case is in its early stages and discovery is
                                                                        model, which relied on captive consumers buying coffee capsules
 ongoing.
                                                                        only from Nespresso. With a captive market, Nespresso could
                                                                        continue to charge consumers an inflated price, and continue to
                                                                        use the aluminum capsules that harm the environment.
                                                                        The U.S. Court has already ruled that these claims can proceed
                                                                        to discovery. Hagens Berman anticipates damages associated
                                                                        with Nespresso’s actions to be in the hundreds of millions of
                                                                        dollars.




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PRACTICE AREAS

Automotive - Non-Emissions Cases

In litigating cases we strive to make an impact for a large volume of consumers, especially
those who fall victim to the gross negligence and oversight of some of the nation’s largest
entities: automakers. Hagens Berman’s automotive litigation team has been named a 2016
Practice Group of the Year by Law360, highlighting its “eye toward landmark matters and
general excellence,” in this area of law.

The federal court overseeing the massive multi-district litigation        RESULT:   Settlement package valued at up to $1.6 billion, which was
against Toyota appointed the firm to co-lead one of the largest           at the time the largest automotive settlement in history.
consolidations of class-action cases in U.S. history. The litigation
                                                                         > MyFord Touch
combined more than 300 state and federal suits concerning
                                                                          Hagens Berman represents owners of Ford vehicles equipped
acceleration defects tainting Toyota vehicles. Hagens Berman and
                                                                          with MyFord Touch, an in-car communication and entertainment
its two co-lead firms were selected from more than 70 law firms
                                                                          package, who claim that the system is flawed, putting drivers at
applying for the role. Since then, the firm’s automotive practice area
                                                                          risk of an accident while causing economic hardship for owners.
has grown by leaps and bounds, pioneering new investigations into
                                                                          The complaint cites internal Ford documents that purportedly
defects, false marketing and safety hazards affecting millions of
                                                                          show that 500 of every 1,000 vehicles have issues involving
drivers across the nation.
                                                                          MyFord Touch due to software bugs, and failures of the software
The firm was recently named to the National Law Journal’s list            process and architecture. Owners report that Ford has been
of Elite Trial Lawyers for its work fighting corporate wrongdoing         unable to fix the problem, even after repeated visits. A federal
in the automotive industry. The firm’s auto team members who              judge overseeing the case recently certified nine subclasses of
worked on Toyota were also named finalists for Public Justice’s           owners of affected vehicles in various states.
Trial Lawyer of the Year award.
                                                                         > Nissan Quest Accelerator Litigation
> General Motors Ignition Switch Litigation                               Represented Nissan Quest minivan owners who alleged that
  Co-lead counsel in high-profile case on behalf of millions of           their vehicles developed deposits in a part of the engine, causing
  owners of recalled GM vehicles affected by a safety defect linked       drivers to apply increased pressure to push the accelerator down.
  to more than 120 fatalities. The suit alleges GM did not take           RESULT:   Settlement providing reimbursement for cleanings or
  appropriate measures, despite having prior knowledge of the             replacements and applicable warranty coverage.
  defect. The case is pending, and most recently, the Supreme
                                                                         > Hyundai Kia MPG
  Court refused to hear GM’s appeal regarding the pending suits
                                                                          Hagens Berman sued Hyundai and Kia on behalf of owners after
  when it claimed the cases were barred by its 2009 bankruptcy.
                                                                          the car manufacturers overstated the MPG fuel economy ratings
> Toyota Sudden, Unintended Acceleration Litigation                       on 900,000 of its cars. The suit seeks to give owners the ability
  Co-lead counsel for the economic loss class in this lawsuit filed       to recover a lump-sum award for the lifetime extra fuel costs,
  on behalf of Toyota owners alleging a defect causes vehicles to         rather than applying every year for that year’s losses.
  undergo sudden, unintended acceleration. In addition to safety          RESULT:   $255 million settlement. Lump-sum payment plan worth
  risks, consumers suffered economic loss from decreased value of         $400 million on a cash basis, and worth even more if owners opt
  Toyota vehicles following media coverage of the alleged defect.         for store credit (150 percent of cash award) or new car discount
                                                                          (200 percent of cash award) options.

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PRACTICE AREAS

Automotive - Non-Emissions Cases

> BMW i3 REx                                                          > Ford Shelby GT350 Mustang Overheating
 Hagens Berman is representing BMW owners in a national class-         Hagens Berman represents owners of certain 2016 Shelby
 action lawsuit, following reports that BMW’s i3 REx model electric    GT350 Mustang models in a case alleging that Ford has sold
 cars contain a defect that causes them to suddenly and without        these vehicles as track cars built to reach and sustain high
 warning lose speed and power mid-drive, putting drivers and           speeds, but failed to disclose that the absence of a transmission
 passengers at risk of crash and injury.                               and differential coolers can greatly diminish the vehicle’s reported
                                                                       track capabilities. Shelby owners are reporting that this defect
> Fiat Chrysler Gear Shifter Rollaway Defect
                                                                       causes the vehicle to overheat and go into limp mode, while in
 Hagens Berman has filed a national class-action lawsuit
                                                                       use, even when the car is not being tracked
 representing owners of Jeep Grand Cherokee, Chrysler 300 and
 Dodge Charger vehicles. The lawsuit states that Fiat Chrysler        > Tesla AP2 Defect
 fraudulently concealed and failed to remedy a design defect in        The firm represents Tesla owners in a lawsuit against the
 811,000 vehicles that can cause cars to roll away after they are      automaker for knowingly selling nearly 50,000 cars with
 parked, causing injuries, accidents and other serious unintended      nonfunctional Enhanced Autopilot AP2.0 software that still has
 consequences.                                                         not met Tesla’s promises, including inoperative Standard Safety
                                                                       Features on affected models sold in Q4 2016 and Q1 2017.




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PRACTICE AREAS

Automotive - Emissions Litigation

Having played a lead role in the record-breaking Volkswagen diesel emissions case, Hagens
Berman knew the story wasn’t over. Since the Dieselgate scandal began, the firm has uniquely
dedicated resources to uncovering cheating devices used by other automakers. The firm has
become a trailblazer in this highly specialized realm, outpacing federal agencies in unmasking
fraud in emissions reporting.

When news broke in 2015 of Volkswagen’s massive diesel                 RESULT:   The largest automotive settlement in history, $14.7 billion.
emissions-cheating scandal, Hagens Berman was the first firm
                                                                      > Volkswagen Dealers Litigation
in the nation to file suit against the automaker for its egregious
                                                                       Hagens Berman served as lead counsel in a first-of-its-kind
fraud, going on to represent thousands of owners in litigation
                                                                       lawsuit brought by a franchise dealer. Three family-owned
and take a leading role on the Plaintiffs’ Steering Committee
                                                                       Volkswagen dealers filed a class action against VW stating
that would finalize a $14.7 billion, record-breaking settlement for
                                                                       that it intentionally defrauded dealers by installing so-called
owners. Since this case emerged, Hagens Berman has been on
                                                                       “defeat devices” in its diesel cars, and separately carried out a
the forefront of emissions litigation, relying on our legal team’s
                                                                       systematic, illegal pricing and allocation scheme that favored
steadfast and intensive investigative skills to unearth many other
                                                                       some dealers over others and illegally channeled financing
emissions-cheating schemes perpatrated by General Motors, Fiat
                                                                       business to VW affiliate, Volkswagen Credit, Inc. The settlement
Chrysler, Mercedes and other automakers, staying one step ahead
                                                                       garnered nearly unanimous approval of dealers, with 99 percent
of government regulators in our pursuit of car manufacturers that
                                                                       participation in the settlement.
have violated emissions standards and regulations, as well as
                                                                       RESULT:   $1.67 billion in benefits to Volkswagen dealers.
consumer confidence.

                                                                      > Mercedes BlueTEC Emissions Litigation
Hagens Berman’s managing partner, Steve Berman, has dedicated
                                                                       Judge Jose L. Linares appointed the firm as interim class
the firm’s resources to upholding the rights of consumers and
                                                                       counsel in this class-action case against Mercedes concerning
the environment, becoming a one-man EPA. The firm is uniquely
                                                                       emissions of its BlueTEC diesel vehicles. Hagens Berman
dedicated to this casue, and is the only firm that has purchased
                                                                       currently represents thousands of vehicle owners who were told
an emission testing machine to determine if other diesel car
                                                                       by Mercedes that their diesel cars were “the world’s cleanest and
manufacturers install similar cheating devices, bringing new cases
                                                                       most advanced diesel,” when in fact testing at highway speeds,
based on the firm’s own research, time and testing.
                                                                       at low temperatures, and at variable speeds, indicate a systemic
> Volkswagen Diesel Emissions Litigation                               failure to meet emissions standards. Low temperature testing at
  Hagens Berman was the first firm in the nation to file a             highway speeds for example, produced emissions that were 8.1
  lawsuit against Volkswagen for its emissions fraud, seeking          to 19.7 times the highway emissions standard. The lawsuit adds
  swift remedies for consumers affected by Volkswagen’s fraud          that testing at low temperatures at variable speeds produced
  and violation of state regulations. The firm was named to the        emissions as high as 30.8 times the standard.
  Plaintiffs’ Steering Committee leading the national fight against
  VW, Porsche and Audi on behalf of owners and lessors of
  affected vehicles, and also served as part of the Settlement
  Negotiating team.


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PRACTICE AREAS

Automotive - Emissions Litigation

> Chevy Cruze Diesel Emissions Litigation                              > Dodge RAM 2500/3500 Diesel Emissions Litigation
 Hagens Berman filed a class-action lawsuit against Chevrolet           According to the firm’s investigation, Dodge has sold hundreds
 (a division of General Motors) for installing emissions-cheating       of thousands of Dodge RAM 2500 and 3500 trucks equipped
 software in Cruze Clean Turbo Diesel cars, forcing consumers           with Cummins diesel engines that release illegally high levels
 to pay high premiums for vehicles that pollute at illegal levels.      of NOx emissions at up to 14 times the legal limit. This defect
 While Chevy marketed these cars as a clean option, the firm’s          causes certain parts to wear out more quickly, potentially costing
 testing has revealed emissions released at up to 13 times the          owners between $3,000 and 5,000 to fix. The firm is leading a
 federal standard. In a recent ruling, U.S. District Judge Thomas       national class action against Fiat Chyrsler for knowingly enducing
 L. Ludington upheld claims brought by owners.                          consumers to pay premium prices for vehicles that fail to comply
                                                                        with federal regulations, and ultimately lead to higher costs of
> Audi Emissions Litigation
                                                                        repairs for purchasers.
 Hagens Berman unearthed additional emissions-cheating by Audi,
 affecting its gasoline 3.0-liter vehicles. The firm’s investigation   > General Motors Duramax Emissions Litigation
 shows that the newly discovered defeat device is installed in          Hagens Berman recently pioneered another instance of diesel
 gasoline engines and changes how the transmission operates             emissions fraud. The firm’s independent testing revealed that
 when testing is detected to lower CO2 emissions, but otherwise         GM had installed multiple emissions-masking defeat devices
 allows excessive CO2 emissions in normal, on-road driving.             in its Duramax trucks, including Chevy Silverado and GMC
                                                                        Sierra models, in a cover-up akin to Volkswagen’s Dieselgate
> Fiat Chrysler EcoDiesel Emissions Litigation
                                                                        concealment. In real world conditions the trucks emit 2 to 5
 The firm is leading charges against Fiat Chrysler that it sold
                                                                        times the legal limit of deadly NOx pollutants, and the emissions
 hundreds of thousands of EcoDiesel-branded vehicles that
                                                                        cheating devices are installed in an estimated 705,000 affected
 release illegally high levels of NOx emissions, despite explicitly
                                                                        vehicles.
 selling these “Eco” diesels to consumers who wanted a more
 environmentally friendly vehicle. Hagens Berman was the
 first firm in the nation to uncover this scheme and file against
 Fiat Chrysler on behalf of owners of Dodge RAM 1500 and
 Jeep Grand Cherokee EcoDiesel vehicles. Following the firm’s
 groundbreaking suit, the EPA took notice, filing formal accusations
 against Fiat Chrysler.




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PRACTICE AREAS

Civil and Human Rights

Hagens Berman has represented individuals and organizations in difficult civil rights challenges
that have arisen in the past two decades. In doing so, we have managed cases presenting
complex legal and factual issues that are often related to highly charged political and historical
events. Our clients have included such diverse communities as World War II prisoners of war,
conscripted civilians and entire villages.

In this cutting-edge practice area, the firm vigilantly keeps abreast     > Hungarian Gold Train
of new state and national legislation and case-law developments.           Following the firm’s representation of former forced and enslaved
We achieve positive precedents by zealously prosecuting in our             laborers for German companies in the Nazi Slave Labor Litigation,
clients’ interests. Some examples of our work in this area include:        Hagens Berman led a team of lawyers against the U.S. on behalf
                                                                           of Hungarian Holocaust survivors in the Hungarian Gold Train
> World Trade Organization Protests
                                                                           case. The suit claimed that, during the waning days of World
  During the 1999 World Trade Organization (WTO) protests in
                                                                           War II, the Hungarian Nazi government loaded plaintiffs’ valuable
  Seattle, tens of thousands of Seattle citizens became targets
                                                                           personal property onto a train, which the U.S. Army later seized,
  after Seattle officials banned all forms of peaceful protest. Seattle
                                                                           never returning the property to its owners and heirs.
  police attacked anyone found in the designated “no protest”
  zones with rubber bullets and tear gas. Hundreds of peaceful            > Dole Bananas
  protesters were arrested and incarcerated without probable               Hagens Berman filed suit against the Dole Food Company,
  cause for up to four days. The firm won a jury trial on liability        alleging that it misled consumers about its environmental record.
  and ultimately secured a settlement from Seattle officials after         The complaint alleged that Dole purchased bananas from a
  filing a class action alleging violations of the First and Fourth        grower in Guatemala that caused severe environmental damage
  Amendments.                                                              and health risks to local residents. Dole ultimately agreed to
                                                                           take action to improve environmental conditions, collaborating
                                                                           with a non-profit group on a water filtration project for local
                                                                           communities.




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PRACTICE AREAS

Consumer Protection - General Class Litigation

Hagens Berman is a leader in protecting consumers, representing millions in large-scale cases
that challenge unfair, deceptive and fraudulent practices.

We realize that consumers suffer the brunt of corporate wrongdoing and have little power
to hold companies responsible or to change those tactics. We believe that when backed by a
tenacious spirit and determination, class action cases have the ability to serve as a powerful
line of defense in consumer protection.

Hagens Berman pursues class litigation on behalf of clients            and its contractual commitment to charge as service fees only
to confront fraudulent practices that consumers alone cannot           “costs incurred in servicing” a given reservation.
effectively dispute. We make consumers’ concerns a priority,           RESULT:   Summary judgment in the amount of $184 million. The
collecting consumer complaints against suspected companies and         case settled for cash and consumer credits totaling $123.4
exploring all avenues for prosecution.                                 million.

Hagens Berman’s legacy of protecting consumer rights reflects the     > Stericycle
wide spectrum of scams that occur in the marketplace. The cases        The firm served as court-appointed lead counsel in a class-action
that we have led have challenged a variety of practices such as:       lawsuit against Stericycle alleging that the company violated
                                                                       contracts and defrauded them by hundreds of millions of dollars
> False, deceptive advertising of consumer products and services
                                                                       through an automatic price-increasing scheme. In February of
> False billing and over-charging by credit card companies, banks,     2017, a federal judge certified a nationwide consumer class. The
  telecommunications providers, power companies, hospitals,            class had more than 246,000 class members, with damages
  insurance plans, shipping companies, airlines and Internet           estimated preliminarily at $608 million.
  companies                                                            RESULT:   $295 million settlement

> Deceptive practices in selling insurance and financial products
                                                                      > Tenet Healthcare
  and services such as life insurance and annuities
                                                                       In a pioneering suit filed by Hagens Berman, plaintiffs alleged that
> Predatory and other unfair lending practices, and fraudulent         Tenet Healthcare charged excessive prices to uninsured patients
 activities related to home purchases                                  at 114 hospitals owned and operated by Tenet subsidiaries in 16
                                                                       different states.
A few case examples are:
                                                                       RESULT:   Tenet settled and agreed to refund to class members

> Expedia Hotel Taxes and Service Fees Litigation                      amounts paid in excess of certain thresholds over a four-and-a-

 Hagens Berman led a nationwide class-action suit arising from         half year period.

 bundled “taxes and service fees” that Expedia collects when
 its consumers book hotel reservations. Plaintiffs alleged that by
 collecting exorbitant fees as a flat percentage of the room rates,
 Expedia violated both the Washington Consumer Protection Act




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PRACTICE AREAS

Consumer Protection - General Class Litigation

> Wells Fargo Force-Placed Insurance                                > Consumer Insurance Litigation
 Hagens Berman brought a case against Wells Fargo alleging it        Hagens Berman has pioneered theories to ensure that in first-
 used “force-placed” insurance clauses in mortgage agreements,       and third-party contexts consumers and health plans always
 a practice that enables the bank to charge homeowners               receive the treatment and benefits to which they are entitled.
 insurance premiums up to 10 times higher than normal rates.         Many of our cases have succeeded in expanding coverage owed
 RESULT:   Hagens Berman reached a settlement in this case, under    and providing more benefits; recovering underpayments of
 which all class members will be sent checks for more than           benefits; and returning uninsured/underinsured premiums from
 double the amount of commissions that Wells Fargo wrongfully        the misleading tactics of the insurer.
 extracted from the force placement of insurance on class
 members’ properties.




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PRACTICE AREAS

Consumer Protection - Drug and Supplement Litigation

Hagens Berman aggressively pursues pharmaceutical industry litigation, fighting against waste,
fraud and abuse in healthcare. For decades, pharmaceutical manufacturers have been among
the most profitable companies in America. But while pharmaceutical companies become richer,
consumers, health plans and insurers pay higher costs for prescription and over-the-counter
drugs and supplements. We shine the light of public scrutiny on this industry’s practices and
represent individuals, direct and indirect purchasers, and the nation’s most forward-thinking
public-interest groups.


The firm’s pharmaceutical and dietary supplement litigation           > Prograf Antitrust Litigation
practice is second to none in the nation in terms of expertise,        Hagens Berman represented purchasers who alleged
commitment and landmark results. Hagens Berman’s attorneys             Astellas Pharma US, Inc. unlawfully maintained its
have argued suits against dozens of major drug companies and the       monopoly and prevented generic competition for Prograf, an
firm’s aggressive prosecution of pharmaceutical industry litigation    immunosuppressant used to help prevent organ rejection in
has recovered more than $1 billion in gross settlement funds.          transplant patients, harming purchasers by forcing them to pay
                                                                       inflated brand name prices for longer than they should have
RECENT ANTITRUST RESOLUTIONS
                                                                       absent the anticompetitive conduct.

In the last few years, Hagens Berman – as lead or co-lead class        RESULT:   The parties’ motion for final approval of the $98 million

counsel – has garnered significant settlements in several antitrust    class settlement is under advisement with the court.

cases involving prescription drugs. In each case, the plaintiffs
alleged that a manufacturer of a brand-name drug violated federal     > Relafen Antitrust Litigation

or state antitrust laws by delaying generic competitors from coming    Hagens Berman filed a class-action lawsuit against

to market, forcing purchasers to buy the more expensive brand          GlaxoSmithKline, SmithKline Beecham Corporation, Beecham

name version instead of the generic equivalent. Examples of our        Group PLC and SmithKline Beecham PLC, on behalf of

recent successes include:                                              consumers and third-party payors who purchased the drug
                                                                       Relafen or its generic alternatives. The suit alleged that the
> Flonase Antitrust Litigation                                         companies who manufacture and sell Relafen unlawfully obtained
  Hagens Berman represented purchasers in this case alleging           a patent which allowed them to enforce a monopoly over Relafen
  pharmaceutical giant GlaxoSmithKline filed petitions to prevent      and prevented competition by generic prescription drugs, causing
  the emergence of generic competitors to its drug Flonase, all to     consumers to pay inflated prices for the drug.
  overcharge consumers and purchasers of the drug, which would         RESULT:   Under the terms of the settlement, the defendants will pay
  have been priced lower had a generic competitor been allowed to      damages of $75 million to those included in the class. Of the total
  come to market.                                                      settlement amount, $25 million will be allocated to consumers
  RESULT:   $150 million class settlement.                             and $50 million will be used to pay the claims of insurers and
                                                                       other third-party payors.




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PRACTICE AREAS

Consumer Protection - Drug and Supplement Litigation

> Skelaxin Antitrust Litigation                                         > Average Wholesale Price Drug Litigation
  The firm represented purchasers in this case alleging King              Hagens Berman served as co-lead counsel and lead trial counsel
  Pharmaceuticals LLC and Mutual Pharmaceutical Company                   in this sprawling litigation against most of the nation’s largest
  alleging conspired to suppress generic competition and preserve         pharma companies, which alleges defendants artificially inflated
  King’s monopoly in the market for the brand name muscle                 Average Wholesale Price.
  relaxant Skelaxin.                                                      RESULT:   Approximately $338 million in class settlements. Hagens
  RESULT:   $73 million class settlement.                                 Berman’s work in this area led to many state governments filing
                                                                          suit and hundreds of millions in additional recovery.
> Tricor Antitrust
  In June 2005, Hagens Berman filed an antitrust lawsuit on
                                                                        FRAUDULENT MARKETING RESOLUTIONS
  behalf of a class of consumers and third party payors against
  pharmaceutical manufacturers Abbott Laboratories and Fournier         Hagens Berman also litigates against drug companies that
  Industries concerning the brand name cholesterol drug Tricor.         fraudulently promote drugs for uses not approved by the Food and
  HBSS was appointed co-lead class counsel by the Court.                Drug Administration (FDA), commonly known as “off-label” uses.
  RESULT:   $65.7 million recovery for consumers and third party        We also litigate cases against dietary supplement manufacturers
  payers who sued Abbott Laboratories and Fournier Industies in         for making false claims about their products. Recent successes
  an antitrust action concerning the cholesterol drug Tricor.           include:

                                                                        > Neurontin Third Party Payor Litigation
FRAUDULENT DRUG PRICING RESOLUTIONS
                                                                          Hagens Berman served as co-lead trial counsel in this case
Hagens Berman has led many complex cases that take on fraud               alleging that Pfizer fraudulently and unlawfully promoted the drug
and inflated drug prices throughout the U.S. This includes                Neurontin for uses unapproved by the FDA.
sweeping manipulation of the average wholesale price benchmark            RESULT:   A jury returned a $47 million verdict in favor of a single
used to set prices for prescription drugs nationwide, fraudulent          third-party payor plaintiff, automatically trebled to $142 million,
marketing of prescription drugs and the rampant use of co-pay             and the court recently approved a $325 million class settlement.
subsidy cards that drive up healthcare costs. These efforts have led
to several significant settlements:                                     > Lupron
                                                                          Hagens Berman prosecuted a lawsuit against TAP
> McKesson and First DataBank Drug Litigation
                                                                          Pharmaceuticals Products, Inc. on behalf of a class of consumers
  The firm discovered a far-reaching fraud by McKesson and
                                                                          and third-party payors who purchased the drug Lupron. The
  became lead counsel in this RICO case against McKesson and
                                                                          suit charged that TAP Pharmaceutical Products, Inc., Abbott
  First DataBank, alleging the companies fraudulently inflated
                                                                          Laboratories and Takeda Pharmaceutical Company Limited
  prices of more than 400 prescription drugs.
                                                                          conspired to fraudulently market, sell and distribute Lupron,
  RESULT:   $350 million settlement and a four percent rollback on
                                                                          causing consumers to pay inflated prices for the drug.
  the prices of 95 percent of the nation’s retail branded drugs, the
                                                                          RESULT:   Judge Richard Stearns issued a preliminary approval of
  net impact of which could be in the billions of dollars. The states
                                                                          the proposed settlement between TAP Pharmaceuticals and the
  and federal government then used Hagens Berman’s work to
                                                                          class. Under the terms of the settlement, $150 million will be paid
  bring additional suits. Hagens Berman represented several states
                                                                          by TAP on behalf of all defendants.
  and obtained settlements three to seven times more than that of
  the Attorneys General. Almost $1 billion was recovered from the
  McKesson fraud.

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PRACTICE AREAS

Consumer Protection - Drug and Supplement Litigation

> Celebrex/Bextra                                                      > Bayer Combination Aspirin/Supplement Litigation
 Hagens Berman filed a class-action lawsuit against Pfizer on           Hagens Berman served as lead counsel on behalf of consumers
 behalf of individual consumers and third-party payors who paid         in a suit alleging that Bayer Healthcare LLC deceptively marketed
 for the drug Bextra. The firm was praised by Judge Breyer for its      Bayer® Women’s Low-Dose Aspirin + Calcium, an 81 mg aspirin
 “unstinting” efforts on behalf of the class, adding, “The attorneys    pill combined with calcium, and Bayer® Aspirin With Heart
 on both sides were sophisticated, skilled, professional counsel        Advantage, an 81 mg aspirin pill combined with phytosterols.
 whose object was to zealously pursue their clients’ interest, but      Plaintiffs alleged that Bayer overcharged consumers for these
 not at the cost of abandoning the appropriate litigation goals,        products or that these products should not have been sold,
 which were to see, whether or not, based upon the merits of the        because these products were not FDA-approved, could not
 cases, a settlement could be achieved.”                                provide all advertised health benefits, and were inappropriate for
 RESULT:   $89 million settlement.                                      long-term use.
                                                                        RESULT:   $15 million settlement.
> Vioxx Third Party Payor Marketing and Sales Practices
 Litigation                                                            OTHER LANDMARK CASES
 The firm served as lead counsel for third party payors in
                                                                       > New England Compounding Center Meningitis Outbreak
 the Vioxx MDL, alleging that Merck & Co. misled physicians,
                                                                        In 2012, the Center for Disease Control confirmed that New
 consumers and health benefit providers when it touted Vioxx as a
                                                                        England Compounding Center sold at least 17,000 potentially
 superior product to other non-steroidal anti-inflammatory drugs.
                                                                        tainted steroid shots to 75 clinics in 23 states across the
 According to the lawsuit,
                                                                        country, resulting in more than 64 deaths and 751 cases of
 The drug had no benefits over less expensive medications, but
                                                                        fungal meningitis, stroke or paraspinal/peripheral joint infection.
 carried increased risk of causing cardiovascular events.
                                                                        HBSS attorneys Thomas M. Sobol and Kristen A. Johnson serve
 RESULT:   $80 million settlement.
                                                                        as Court-appointed Lead Counsel for the Plaintiffs’ Steering
                                                                        Committee on behalf of plaintiff-victims in MDL 2419 consolidated
> Serono Drug Litigation
                                                                        before The Honorable Ray W. Zobel in the United States District
 Hagens Berman served as lead counsel for a class of consumers
                                                                        Court for the District of Massachusetts.
 and third party payors in a suit alleging that global biotechnology
                                                                        RESULT:   $100 million settlement.
 company Serono, Inc. schemed to substantially increase sales of
 the AIDS drug Serostim by duping patients diagnosed with HIV
 into believing they suffered from AIDS-wasting and needed the
 drug to treat that condition.
 RESULT:   $24 million settlement.




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PRACTICE AREAS

Employment Litigation

Hagens Berman takes special interest in protecting workers from exploitation or abuse. We take
on race and gender discrimination, immigrant worker issues, wage and hour issues, on-the-job
injury settlements and other crucial workplace issues.

Often, employees accept labor abuses or a curbing of their           > Washington State Ferry Workers Wage Litigation
rights because they don’t know the law, respect their superiors       Represented “on-call” seamen who alleged that they were not
or fear for their jobs. We act on behalf of employees who may         paid for being “on call” in violation of federal and state law.
lack the individual power to bring about meaningful change in         RESULT:   Better working conditions for the employees and
the workplace. We take a comprehensive approach to rooting            rearrangement in work assignments and the “on-call” system.
out systemic employee abuses through in-depth investigation,
                                                                     > SunDance Rehabilitation Corporation
knowledgeable experts and fervent exploration of prosecution
                                                                      Filed a class action against SunDance challenging illegal wage
strategies. Hagens Berman is a firm well-versed in taking on
                                                                      manipulation, inconsistent contracts and other compensation
complicated employee policies and bringing about significant
                                                                      tricks used to force caregivers to work unpaid overtime.
results. Representative cases include:
                                                                      RESULT:   $3 million settlement of stock to be distributed out of the
> CB Richard Ellis Sexual Harassment Litigation                       company’s bankruptcy estate.
 Filed a class action against CB Richard Ellis, Inc., on behalf of
                                                                     > Schneider National Carriers - Regional Drivers
 16,000 current and former female employees who alleged that
                                                                      The firm represents a certified class of regional drivers in a
 the company fostered a climate of severe sexual harassment
                                                                      suit filed against Schneider National Carriers, claiming that the
 and discriminated against female employees by subjecting them
                                                                      company failed to pay its workers for all of their on duty time
 to a hostile, intimidating and offensive work environment, also
                                                                      devoted to a variety of work tasks, including vehicle inspections,
 resulting in emotional distress and other physical and economic
                                                                      fueling, and waiting on customers and assignments. The suit also
 injuries to the class.
                                                                      claims that the company does not provide proper meal and rest
 RESULT:   An innovative and unprecedented settlement requiring
                                                                      breaks and the company is liable for substantial penalties under
 changes to human resources policies and procedures, as well
                                                                      the California Labor Code.
 as the potential for individual awards of up to $150,000 per
                                                                      RESULT:   A $28 million settlement on behalf of drivers.
 class member. The company agreed to increase supervisor
 accountability, address sexually inappropriate conduct in the       > Schneider National Carriers - Mechanics
 workplace, enhance record-keeping practices and conduct annual       Hagens Berman filed a class-action lawsuit alleging that
 reviews of settlement compliance by a court appointed monitor.       Schneider National Carriers failed to provide mechanics with
                                                                      proper overtime compensation, meal and rest break premiums,
> Costco Wholesale Corporation Wage & Hour Litigation
                                                                      and accurate wage statements as required by California law.
 Filed a class action against Costco Wholesale Corporation
                                                                      RESULT:   In March of 2013, the case was settled on terms mutually
 on behalf of 2,000 current and former ancillary department
                                                                      acceptable to the parties.
 employees, alleging that the company misclassified them
 as “exempt” executives, denying these employees overtime
 compensation, meal breaks and other employment benefits.
 RESULT:   $15 million cash settlement on behalf of the class.




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PRACTICE AREAS

Employment Litigation

> Swift Transportation Co. of Arizona LLC
 The firm represents a certified class of Washington-based truck
 drivers against Swift Transportation. The suit alleges that Swift
 failed to pay the drivers overtime and other earned wages in
 violation of Washington state law.
 An agreement to settle the case was granted preliminary approval
 in October 2018. Final approval is pending.




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PRACTICE AREAS

Environmental Litigation

Since Hagens Berman’s founding, it has sought to work toward one simple goal: work for
the greater good. Hagens Berman has established a nationally recognized environmental
litigation practice, having handled several landmark cases in the Northwest, the nation and
internationally.
Hagens Berman believes that protecting and restoring our               RESULT:   A $5 billion judgment was awarded by a federal jury,
environment from damage caused by irresponsible and illegal            and a $98 million settlement was achieved with Alyeska, the oil
corporate action is some of the most rewarding work a law firm         company consortium that owned the output of the pipeline.
can do. Our firm has established an internationally recognized
                                                                      > San Francisco and Oakland Climate Change Litigation
environmental litigation practice.
                                                                       Hagens Berman represents the cities of San Francisco and
SCIENCE AND THE LAW                                                    Oakland, Calif. in two lawsuits filed against BP, Chevron Corp.,
Hagens Berman’s success in environmental litigation stems from a       Exxon Mobil Corp., Royal Dutch Shell PLC and ConocoPhillips
deep understanding of the medical and environmental science that       alleging that the Big Oil giants are responsible for the cities’ costs
measures potential hazards. That expertise is translated into the      of protecting themselves from global warming-induced sea level
courtroom as our attorneys explain those hazards to a judge or jury    rise, including expenses to construct seawalls to protect the
in easily understood terms.                                            two cities’ more than 5 million residents. The newly filed case
                                                                       seek an order requiring defendants to abate the global warming-
ENVIRONMENTAL EXPERTS                                                  induced sea level rise by funding an abatement program to build
The firm has fostered deep relationships with top-notch                sea walls and other infrastructure. Attorneys for the cities say
environmental experts that result in resonating arguments and          this abatement fund will be in the billions.
court victories, as well as thoroughly researched and vetted
investigations.                                                       > Chinook Ferry Litigation
                                                                       The firm represented a class of property owners who challenged
REAL IMPACTS                                                           Washington State Ferries’ high-speed operation of a new
Environmental law is a priority at our firm and we have taken an       generation of fast ferries in an environmentally sensitive area of
active role in expanding this practice area. In 2003, Steve Berman     Puget Sound. Two of the ferries at issue caused environmental
and his wife Kathy worked with the University of Washington to         havoc and property damage, compelling property owners to act.
create the Kathy and Steve Berman Environmental Law Clinic,            A SEPA study conducted in response to the suit confirmed the
giving law students the training and opportunities needed to           adverse environmental impacts of the fast ferry service
become hands-on advocates for the environment.                         RESULT:   A $4.4 million settlement resulted that is among the most
                                                                       favorable in the annals of class litigation in Washington state.
Hagens Berman’s significant environmental cases include:
                                                                      > Grand Canyon Litigation
> Exxon Valdez Oil Spill Litigation
                                                                       The firm represented the Sierra Club in a challenge to a Forest
  Hagens Berman represented various classes of claimants,
                                                                       Service decision to allow commercial development on the
  including fisherman and businesses located in Prince William
                                                                       southern edge of the Grand Canyon National Park.
  Sound and other impacted areas who were damaged by one of
                                                                       RESULT:   The trial court enjoined the project.
  the worst oil spills in United States history.



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PRACTICE AREAS

Environmental Litigation
> Kerr-McGee Radiation Case                                            > Diesel Emissions Litigation
 The firm brought a class action on behalf of residents of West         Second to none in uncovering emissions-cheating, the firm
 Chicago, Illinois who were exposed to radioactive uranium tailings     has dedicated its time and resources to breaking up the dirty
 from a rare earth facility operated by Kerr-McGee.                     diesel ring. After filing the first lawsuit in the country against
 RESULT:   A medical monitoring settlement valued in excess of $5       Volkswagen, Audi and Porsche for its massive Dieselgate scandal
 million                                                                in 2015, the firm went on to unmask emissions-cheating devices
                                                                        installed in vehicles made by Fiat Chrysler, Mercedes and General
> Skagit Valley Flood Litigation
                                                                        Motors and continues to investigate diesel cars for excessive,
 Hagens Berman represented farmers, homeowners and
                                                                        illegal and environmentally harmful levels of emissions.
 businesses who claimed damages as a result of the 1990 flooding
                                                                        RESULT:   The firm’s independently researched active cases have led
 of this community. The case was in litigation for ten years and
                                                                        to investigations by the EPA, DOJ and European authorities.
 involved a jury trial of more than five months.
 RESULT:   Following the entry of 53 verdicts against Skagit County,   > Kivalina Global Warming Litigation
 the trial court entered judgments exceeding $6.3 million.              A tiny impoverished Alaskan village of Inupiat Eskimos took
 Ultimately, the State Supreme Court reversed this judgment.            action against some of the world’s largest greenhouse gas
 Despite this reversal, the firm is proud of this representation and    offenders, claiming that contributions to global warming are
 believes that the Supreme Court erred.                                 leading to the destruction of their village and causing erosion
                                                                        to the land that will eventually put the entire community under
> Idaho Grass Burning Case
                                                                        water. Hagens Berman, along with five law firms and two non-
 In 2002, Hagens Berman brought a class-action lawsuit on
                                                                        profit legal organizations, filed a suit against nine oil companies
 behalf of Idaho residents who claimed grass-burning farmers
                                                                        and 14 electric power companies that emit large quantities of
 released more than 785 tons of pollutants into the air, including
                                                                        greenhouse gases into the atmosphere. The lawsuit alleged their
 concentrations of polycyclic aromatic hydrocarbons (PAHs),
                                                                        actions resulted in the destruction of protective ice, exposing the
 proven carcinogens. Burning the fields annually caused serious
                                                                        village to severe storms that destroy the ground the village stands
 health problems, especially to those with respiratory ailments
                                                                        on. Relocating the village of Kivalina could cost between $95 and
 such as cystic fibrosis and asthma. The suit also asserted that
                                                                        $400 million, an expense the community cannot afford.
 Idaho’s grass burning policies are far below the standards of
 other states such as neighboring Washington, where farmers use        > Cane Run Power Plant Coal Ash Case
 other techniques to remove grass residue from the fields.              In 2013, Hagens Berman filed a class-action lawsuit against
 RESULT:   The lawsuit settled in 2006 under confidential terms.        Louisville Gas and Electric Company alleging it illegally dumped
                                                                        waste from a coal-fired power plant onto neighboring property
> Dole Bananas Case
                                                                        and homes where thousands of Kentucky residents live.
 The firm took on Dole Food Company Inc. in a class-action
                                                                        According to the complaint, Louisville Gas and Electric Company’s
 lawsuit claiming the world’s largest fruit and vegetable company
                                                                        Cane Run Power Plant is fueled by the burning of coal, which
 lied to consumers about its environmental record and banana-
                                                                        also produces coal combustion byproducts—primarily fly ash and
 growing practices. The suit alleged that Dole misrepresented
                                                                        bottom ash—that contain significant quantities of toxic materials,
 its commitment to the environment in selling bananas from a
                                                                        including arsenic, chromium and lead. The dust spewed by Cane
 Guatemalan banana plantation that did not comply with proper
                                                                        Run contains known carcinogens, posing significant potential
 environmental practices.
                                                                        health hazards.
 RESULT:   The suit culminated in 2013. Dole and non-profit
 organization Water and Sanitation Health, Inc. collaborated on a
 water filter project to assist local communities in Guatemala.

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PRACTICE AREAS

Governmental Representation

Hagens Berman has been selected by public officials to represent government agencies and
bring civil law enforcement and damage recoupment actions designed to protect citizens and
the treasury. We understand the needs of elected officials and the obligation to impartially and
zealously represent the interests of the public, are often chosen after competitive bidding and
have been hired by officials from across the political spectrum.

Hagens Berman has assisted governments in recovering billions of          RESULT:   Hagens Berman has started the AWP class action, which
dollars in damages and penalties from corporate wrongdoers and,           resulted in many states filing cases. The firm represented several
in the process, helped reform how some industries do business.            of those states in successful litigation.
In serving government, we are often able to leverage the firm’s
                                                                         > McKesson Government Litigation
expertise and success in related private class-action litigation.
                                                                          On the heels of Hagens Berman’s class action against McKesson,
Successes on behalf of government clients include:
                                                                          the firm led lawsuits by states (Connecticut, Utah, Virginia,
> Big Tobacco                                                             Montana, Arizona).
  We represented 13 states in landmark Medicaid-recoupment                RESULT:   These states obtained recoveries three to seven times
  litigation against the country’s major tobacco companies. Only          larger than states settling in the multi-state Attorneys General
  two states took cases to trial – Washington and Minnesota. The          settlement. In addition, the firm obtained $12.5 million for the City
  firm served as trial counsel for the state of Washington, becoming      of San Francisco and $82 million for a nationwide class of public
  only one of two private firms in the entire country to take a state     payors.
  case to trial.
                                                                         > Zyprexa Marketing & Sales Practices Litigation - Connecticut
  Hagens Berman was instrumental in developing what came to               Hagens Berman served as outside counsel to then-Attorney
  be accepted as the predominant legal tactic to use against the          General Richard Blumenthal in litigation alleging that Lilly
  tobacco industry: emphasizing traditional law enforcement claims        engaged in unlawful off-label promotion of the atypical
  such as state consumer protection, antitrust and racketeering           antipsychotic Zyprexa. The litigation also alleged that Lilly made
  laws. This approach proved to be nearly universally successful          significant misrepresentations about Zyprexa’s safety and
  at the pleading stage, leaving the industry vulnerable to a profits-    efficacy, resulting in millions of dollars in excess pharmaceutical
  disgorgement remedy, penalties and double damages. The firm             costs borne by the State and its taxpayers.
  also focused state legal claims on the industry’s deplorable            RESULT:   $25 million settlement.
  practice of luring children to tobacco use.
                                                                         > General Motors Ignition Switch Litigation
  RESULT:   $206 billion for state programs, the largest settlement in
                                                                          Hagens Berman is pleased to be assisting the Arizona Attorney
  the history of civil litigation in the U.S.
                                                                          General in its law enforcement action versus GM, as well as
> McKesson Average Wholesale Price Litigation                             the district attorney of Orange County, California who filed a
  This litigation is yet another example of fraudulent drug price         consumer protection lawsuit against GM, claiming the automaker
  inflation impacting not just consumers and private health               deliberately endangered motorists and the public by intentionally
  plans, but public health programs such as Medicaid and local            concealing widespread, serious safety defects.
  government-sponsored plans as well.



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PRACTICE AREAS

Governmental Representation

> State Opioid Litigation                                              > Municipal Lending
 Hagens Berman was hired to assist multiple municipalities in           Hagens Berman represents the cities of Los Angeles and Miami
 lawsuits brought against large pharmaceutical manufacturers            in a series of lawsuits filed against the nation’s largest banks,
 including Purdue Pharma, Cephalon, Janssen Pharmaceuticals,            including CitiGroup, JP Morgan, Wells Fargo and Bank of America
 Endo Health Solutions and Actavis charging that these companies        alleging that they engage in systematic discrimination against
 and others deceived physicians and consumers about the                 minority borrowers, resulting in reduced property tax receipts
 dangers of prescription painkillers.                                   and other damages to the cities. The suits seek damages for the
                                                                        City, claiming that the banks’ alleged discriminatory behavior
 The firm was first hired by California governmental entities for
                                                                        resulted in foreclosures, causing a reduction of property tax
 the counties of Orange and Santa Clara. The state of Mississippi
                                                                        revenues and increased municipal service costs.
 also retained the firm’s counsel in its state suit brought against
 the manufacturer of opioids. The suit alleges that the pharma
 companies engaged in tactics to prolong use of opioids despite
 knowing that opioids were too addictive and debilitating for long-
 term use for chronic non-cancer pain.

 In a third filing, Hagens Berman was retained as trial counsel
 for the state of Ohio. Filed on May 31, 2017, the firm is assisting
 the Ohio Attorney General’s office in its case against five opioid
 makers. Ohio Attorney General Mike DeWine stated that “drug
 companies engaged in fraudulent marketing regarding the risks
 and benefits of prescription opioids which fueled Ohio’s opioid
 epidemic,” and that “these pharmaceutical companies purposely
 misled doctors about the dangers connected with pain meds that
 they produced, and that they did so for the purpose of increasing
 sales.”




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PRACTICE AREAS

Intellectual Property

The Hagens Berman intellectual property team has deep experience in all aspects of intellectual
property litigation. We specialize in complex and significant damages cases against some of the
world’s largest corporations.

The firm is primarily engaged in patent infringement litigation         > Oracle
at this time. We seek to represent intellectual property owners,         The firm represents Thought Inc. against Oracle Corporation in
including inventors, universities, non-practicing entities, and other    a suit alleging infringement of seven patents covering various
groups whose patent portfolios represents a significant creative         aspects of middleware systems providing application to database
and capital investment.                                                  mapping, reading and persistence.

Our current and recent engagements include the following:               > Salesforce
                                                                         The firm represents Applications in Internet Time LLC in patent
> Bombadier Inc.
                                                                         litigation against Salesforce Inc. The suit alleges that our client’s
  The firm represented Arctic Cat Inc. in patent infringement
                                                                         patents cover the core architecture of Salesforce’s platform for
  litigation against Bombardier Recreational Products and BRP U.S.
                                                                         developing, customizing, and updating cloud-based software
  Inc. The complaint alleges that Bombardier’s Sea-Doo personal
                                                                         applications.
  watercraft infringe Arctic Cat’s patents covering temporary
  steerable thrust technology used when the rider turns in off-         > Nintendo
  throttle situations.                                                   The firm represented Japan-based Shinsedai Company in patent
  RESULT:   Florida U.S. District Judge Beth Bloom issued a final        infringement litigation against Nintendo. The suit alleged that our
  judgment of $46.7 million against defendants, trebling initial         client’s patents were infringed by various sports games for the
  damages of $15.5 million awarded in a unanimous jury verdict.          Nintendo Wii.

> Angry Birds
  Hagens Berman represented a Seattle artist who filed a lawsuit
  against Hartz Mountain Corporation – one of the nation’s largest
  producers of pet-related products – claiming the company
  illegally sold the artist’s trademarked Angry Birds pet toy line to
  video game giant Rovio Entertainment Ltd, robbing her of millions
                                                                            Unlike other intellectual property firms,
  of dollars of royalty fees.                                               Hagens Berman only represents plaintiffs.
            The case settled under confidential terms, which the firm
  RESULT:
                                                                            This reduces the risk of potential conflicts
  found to be extremely satisfactory for the plaintiff.
                                                                            of interest which often create delays in
> Samsung, LG, Apple
  The firm represents FlatWorld Interactives LLC in patent litigation
                                                                            deciding whether or not to take a case at
  against Samsung, LG and Apple. The complaints allege that the             larger firms.
  defendants’ mobile handsets, tablets, media players and other
  devices infringe a FlatWorld patent covering the use of certain
  gestures to control touchscreen displays.
  RESULT:   The case settled.

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PRACTICE AREAS

Intellectual Property

> Electronic Arts
  Hagens Berman represents the original software developer of the
  Electronic Arts (EA) NFL Madden Football video game series in
  a suit alleging that he is owed royalties on EA Madden NFL titles
  as well as other derivative products. We prevailed in two trials
  against EA, and the verdicts were designated as the Top Verdict
  of the Year (2013) by The Daily Journal. The judgment is on
  appeal and if upheld will return for a final damages phase.

Hagens Berman is also skilled in other aspects of intellectual
property law, including trademark, trade dress, trade secret and
copyright litigation.




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PRACTICE AREAS

Investor Fraud - Individual and Class Action Litigation

Investing is a speculative business involving assessment of a variety of risks that can only be
properly weighed with full disclosure of accurate information. No investor should suffer undue
risk or incur losses due to misrepresentations related to their investment decisions.

Our attorneys work for institutional and individual investors           > Boeing
defrauded by unscrupulous corporate insiders and mutual funds.           Uncovered critical production problems with the 777 airliner
The firm vigorously pursues fraud recovery litigation, forcing           documented internally by Boeing, but swept under the rug until a
corporations and mutual funds to answer to deceived investors.           pending merger with McDonnell Douglas was completed.
                                                                         RESULT:   Record-breaking settlement of more than $92.5 million.
Hagens Berman is one of the country’s leading securities litigation
firms advising clients in both individual and class-action cases. The   > J.P. Morgan – Madoff
firm has experience, dedication and a team with the horsepower           Case alleges that banking and investment giant J.P. Morgan was
required to drive complex cases to exemplary outcomes. Our               complicit in aiding Bernard Madoff’s Ponzi scheme. Investors
attorneys are authorities in an array of issues unique to federal        claim that J.P. Morgan operated as Bernard L. Madoff Investment
and state securities statutes and related laws. We use a variety of      Securities LLC’s primary banker for more than 20 years.
highly experienced experts as an integral part of our prosecution        RESULT:   $218 million settlement amount for the class and a total
team. Successes on behalf of our investor clients include:               of $2.2 billion paid from JPMorgan that will benefit victims of
                                                                         Madoff’s Ponzi scheme.
> Charles Schwab Securities Litigation
 Lead counsel, alleging fraud in the management of the Schwab           > Morrison Knudsen
 YieldPlus mutual fund.                                                  Filed a shareholder class action, alleging that MK’s senior officers
 RESULT:   $235 million class settlement for investors.                  concealed hundreds of millions in losses.
                                                                         RESULT:   More than $63 million for investors.
> Oppenheimer
 Additional counsel for lead plaintiffs in class action alleging        > Raytheon/Washington Group
 Oppenheimer misled investors regarding its Champion and Core            Charged Raytheon with deliberately misrepresenting the true
 Bond Funds.                                                             financial condition of Raytheon Engineers & Constructors division
 RESULT:   $100 million for the classes.                                 in order to sell this division to the Washington Group at an
                                                                         artificially inflated price.
> Tremont
                                                                         RESULT:   $39 million settlement.
 Co-lead counsel in a case alleging Tremont Group Holdings
 breached its fiduciary duties by turning over $3.1 billion to          > U.S. West
 Bernard Madoff. On Sept. 14, 2015, after nearly two years of            Represented shareholders of U.S. West New Vector in a
 negotiations and mediation, the court granted final approval of         challenge to the proposed buyout of minority shareholders by
 the plan of allocation and distribution of the funds which markets      U.S. West.
 estimate could yield investors as much as $1.45 billion.                RESULT:   The proposed buyout was stayed, and a settlement was
 RESULT:   $100 million settlement between investors, Tremont and        achieved, resulting in a $63 million increase in the price of the
 its affiliates.                                                         buyout.




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PRACTICE AREAS

Investor Fraud - Individual and Class Action Litigation

Our current casework includes:                                          a default judgment in the amount of $535 million and certified
                                                                        a proposed class against China Media Express Holdings Inc.
> Theranos Investor Litigation                                          The case will proceed separately against Deloitte Touche
 Hagens Berman represents Theranos investors in a lawsuit that          Tohmatsu.
 states that Theranos and its officers set in motion a publicity        On May 6, 2015 Hagens Berman obtained a $12 million
 campaign to raise billions of dollars for Theranos and themselves,     settlement from Deloitte Touche Tohmatsu, one of the largest
 and to induce investors to invest in Theranos, all the while           settlements against an auditor in a Chinese “reverse merger”
 knowing that its “revolutionary” blood test technology was             case which is now awaiting final approval from the court.
 essentially a hoax. The suit filed against the company, its CEO
                                                                       > Altisource Asset Management Corporation
 Elizabeth Holmes and Ramesh Balwani, alleges that Theranos’
                                                                         The firm was appointed lead counsel in this institutional
 statements to investors were built on false statements. At the
                                                                         investor lawsuit brought on behalf of purchasers of Altisource
 crux of the court’s recent decision to uphold the investor case         Asset Management Corporation (AAMC). The complaint
 against Theranos was a finding that while plaintiffs did not            alleges that AAMC misrepresented or outright concealed its
 directly purchase their securities from defendants, claims made         relationship with these companies and the extent to which
 by Theranos, Holmes and Balwani constituted fraud.                      the interconnected entities engaged in conflicted transactions
                                                                         with themselves. Estimates of class-wide damages are in the
> Aequitas Investor Litigation                                           hundreds of millions of dollars. The firm recently filed the
 The firm represents a group of investors alleging that national         consolidated complaint and motions to dismiss are pending
 law firm Sidley Austin LLP, Oregon law firm Tonkon Torp LLP             before the U.S. District Court for the District of the Virgin
 and accounting firms Deloitte & Touche LLP and EisnerAmper             Islands.
 LLP violated Oregon securities laws by participating or materially
 aiding in misrepresentations made by Aequitas Management              WHISTLEBLOWERS
 LLC and contributing to a $350 million Ponzi scheme. Investors
                                                                       In an effort to curb Wall Street excesses, Congress passed the
 state, amongst other allegations, that in 2011 Aequitas began
                                                                       Dodd-Frank Wall Street Reform and Consumer Protection Act,
 purchasing loan receivables from Corinthian College Inc. and
                                                                       which built vigorous whistleblower protections into the legislation
 had bought the rights to collect $444 million in loans. Investment
                                                                       known as the “Wall Street Tip-Off Law.” The law empowers the
 managers hid the details of the transactions from investors,
                                                                       U.S. Securities and Exchange Commission to award between 10
 and deceived them when Corinthian’s business was hit with
                                                                       and 30 percent of any monetary sanctions recovered in excess of
 regulatory challenges in 2014. When Corinthcollapsed in May
                                                                       $1 million to whistleblowers who provide information leading to a
 2015, the investment group and its managers continued to sell
                                                                       successful SEC enforcement. It also provides similar rewards for
 securities and used the money to pay off other investors and fund
                                                                       whistleblowers reporting fraud in the commodities markets.
 a lavish lifestyle, until Aequitas ultimately imploded in 2017, the
 investors claim.                                                      Hagens Berman represents whistleblowers with claims involving
                                                                       violations of the Securities Exchange Act and the Commodities
> China MediaExpress
                                                                       Exchange Act. Unlike traditional whistleblower firms who have
  Hagens Berman represents investors in a case against China
                                                                       pivoted into this area, Hagens Berman has a strong background
  MediaExpress, which purported to be the owner of a network
                                                                       and history of success in securities, antitrust and other areas of
  of advertising terminals on buses throughout China. The case
  alleges that the company and its auditor (Deloitte Touche            fraud enforcement, making us an ideal partner for these cases. Our
  Tohmatsu) participated in accounting fraud that ultimately led       matters before the SEC/CFTC include a range of claims, including
  to the demise of the company. In early 2014, the court entered       market manipulation and fraudulent financial statements.


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PRACTICE AREAS

Investor Fraud - Institutional Investor Portfolio Monitoring
and Recovery Services
Hagens Berman is a leading provider of specialized securities litigation services to public,
private and Taft-Hartley pension funds. We offer proprietary and unparalleled asset protection
and recovery services to both foreign and domestic institutions. Our institutional services
provide participants with the ability to identify, investigate and react to potential wrongdoing by
companies in which the institution invests.

PORTFOLIO MONITORING. Timely information and analysis are                 Our Portfolio Monitoring Service performs its functions with
the critical ingredients of a successful fraud recovery program.          almost no inconvenience to participating institutions. A client’s
Institutions must receive quick, reliable determinations concerning       custodian bank provides us with records detailing the client’s
the source and extent of their losses, the likelihood of recoupment       transactions from the prior several years and on a regular basis
and the best manner for pursuing it. Our Portfolio Monitoring             thereafter. Importantly, none of the institution’s own personnel is
Service provides these services at no cost to participating               required to share in this task, as we acquire the information directly
institutions. The Hagens Berman Portfolio Monitoring Service has          from the custodian bank.
three primary components:
                                                                          We provide our Portfolio Monitoring service with no strings
TRACKING. Alerts clients of any significant portfolio losses due to       attached and allow our clients to act without cost or commitment.
suspected fraud.                                                          In instances where a litigation opportunity arises, we believe our
                                                                          skills make us the ideal choice for such a role, although the client is
ANALYSIS. Provide clients with necessary legal and factual
                                                                          free to choose others.
analyses regarding possible recovery options, removing from the
institution any burden connected with scrutinizing myriad instances       When a portfolio loses money because of corporate deception,
of potential wrongdoing and attempt to decipher whether direct,           our litigation services seek to recover a substantial percentage of
recoverable injuries have resulted.                                       those losses, thereby increasing a fund’s performance metric. As
                                                                          fiduciaries, money managers may not have the ability or desire
REPORTING. Attorneys and forensic accounting fraud experts
                                                                          to risk funds on uncertain litigation using typical hourly-rate law
deliver a concise monthly report that furnishes comprehensive
                                                                          firms. Hagens Berman seeks to minimize the burden on the money
answers to these inquiries. On a case-by-case basis, the report
                                                                          manager by pursuing cases on a contingent-fee basis.
specifies each of the securities in which the client lost a significant
amount of money, and matches those securities with an analysis
of potential fraud likelihood, litigation options and an expert
recommendation on how best to proceed for maximum recovery.




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PRACTICE AREAS

Personal Injury and Abuse

For nearly two decades, Hagens Berman’s blend of professional expertise and commitment to
our clients has made our firm one of the most well-respected and successful mass tort and
personal injury law firms in the nation. We deliver exceptional results for our clients by obtaining
impressive verdicts and settlements in personal injury litigation.

Our attorneys have experience in wrongful death, brain injury           tens of thousands of citizens who are unable to protect themselves.
and other catastrophic injury cases, as well as deep experience         Many social workers do a fine job. Tragically, many do not. The
in social work negligence, medical malpractice, nursing home            results are often catastrophic when a social worker fails to monitor
negligence and sexual abuse cases.                                      and protect his or her vulnerable client. All too often, the failure
                                                                        to protect a child or disabled citizen leads to injury or sexual
Hagens Berman also has unparalleled experience in very specific
                                                                        victimization by predators. With more than $40 million in recoveries
areas of abuse law, recovering damages on behalf of some of the
                                                                        on behalf of vulnerable citizens who were neglected by social
most vulnerable people in our society.
                                                                        workers, Hagens Berman is the most experienced, successful and

Sexual Abuse Litigation Hagens Berman has represented a wide            knowledgeable group of attorneys in this dynamic area of the law.

spectrum of individuals who have been victims of sexual abuse,
                                                                        Workplace Injury While many workplace injury claims are
including children and developmentally disabled adults. We treat
                                                                        precluded by workers compensation laws, many instances of
each case individually, with compassion and attention to detail and
                                                                        workplace injury are caused by the negligence and dangerous
have the expertise, resources and track record to stand up to the
                                                                        oversight of third parties. In these instances, victims may have
toughest opponents. In the area of sexual abuse, our attorneys have
                                                                        valid claims. Hagens Berman’s personal injury legal team has
obtained record-breaking verdicts, including the largest personal
                                                                        successfully brought many workplace injury claims, holding third
injury verdict ever upheld by an appellate court in the state of
                                                                        parties liable for our clients’ serious bodily injuries.
Washington.
                                                                        Medical Malpractice Litigating a medical malpractice case takes
Nursing Home Negligence Nursing home negligence is a growing
                                                                        acute specialization and knowledge of medical treatments and
problem throughout the nation. As our population ages, reports of
                                                                        medicine. Notwithstanding these facts, Hagens Berman pursues
elder abuse and nursing home negligence continue to rise. Today,
                                                                        meritorious medical malpractice claims in instances where clients
elder abuse is one of the most rapidly escalating social problems
                                                                        have suffered life-altering personal injuries. Our firm’s personal
in our society. Hagens Berman is uniquely qualified to represent
                                                                        injury attorneys handle medical malpractice cases with the
victims of elder abuse and nursing home negligence. Our attorneys
                                                                        dedication and detail necessary to make victims whole. Hagens
have secured outstanding settlements in this area of the law
                                                                        Berman is very selective in accepting medical malpractice cases
and have committed to holding nursing homes accountable for
                                                                        and has been successful in recovering significant compensation for
wrongdoing.
                                                                        victims of medical error and negligence.

Social Work Negligence Social workers play a critical role in the
daily lives of our nation’s most vulnerable citizens. Social workers,
assigned to protect children, the developmentally disabled and
elderly adults, are responsible for critical aspects of the lives of




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PRACTICE AREAS

Sports Litigation

Hagens Berman has one of the nation’s most highly regarded sports law practices. Our
attorneys are the vanguard of new and innovative legal approaches to protect the rights of
professional and amateur athletes in cases against large, well-financed interests, including the
National Collegiate Athletic Association (NCAA), the National Football League (NFL) and the
Fédération Internationale de Football Association (FIFA).

> NCAA: Concussions                                                   > Player Likeness Rights
 Cases of particular nationwide interest for fans, athletes and the    Hagens Berman attorneys representing student-athletes who
 general public involve numerous cases filed by Hagens Berman          claimed that the NCAA illegally used student-athletes’ names,
 against the NCAA. Recently, the firm has taken on the NCAA for        images and likenesses in Electronic Arts’ popular NCAA Football,
 its failure to prevent concussions and protect student-athletes       Basketball and March Madness video game series reached a
 who suffered concussions. Steve Berman serves as lead counsel         combined $60 million settlement with the NCAA and EA, marking
 in multi-district litigation as the firm finalizes a settlement       the first time the NCAA has agreed to a settlement that pays
 that will bring sweeping changes to the NCAA’s approach to            student-athletes for acts related to their participation in athletics.
 concussion treatment and prevention; provide a 50-year medical-       Settlement checks were sent to about 15,000 players, with
 monitoring program for student-athletes to screen for and track       average amounts of $1,100 and some up to $7,600.
 head injuries; and establish a $5 million fund for concussion
                                                                       The firm began this case with the knowledge that the NCAA
 research.
                                                                       and member schools were resolute in keeping as much control
 The core settlement benefits include a 50-year medical                over student-athletes as possible, and fought hard to ensure
 monitoring program overseen by a medical science committee            that plaintiffs would not be exploited for profit, especially by the
 appointed by the court that will screen and track concussions,        organization that vowed to prevent the athlete from exploitation.
 funded by a $70 million medical monitoring fund, paid by the
                                                                       The firm also represented NFL legend Jim Brown in litigation
 NCAA and its insurers. Examinations include neurological and
                                                                       against EA for improperly using his likeness in its NFL video
 neurocognitive assessments to evaluate potential injuries.
                                                                       games, culminating in a $600,000 voluntary judgment offered by
 The settlement also mandates significant changes to and               the video game manufacturer.
 enforcement of the NCAA’s concussion management policies
                                                                      > FIFA/U.S. Soccer: Concussions
 and return-to-play guidelines. All players will now receive a
                                                                       Several current and former soccer players filed a class action
 seasonal, baseline test to better assess concussions sustained
                                                                       against U.S. soccer’s governing bodies, which led to life-changing
 during the season. All athletes who have sustained a concussion
                                                                       safety measures brought to millions of U.S. youth soccer
 will now need to be cleared before returning to play. A medical
                                                                       players. Players represented by Hagens Berman alleged these
 professional trained in the diagnosis of concussions will be
                                                                       groups failed to adopt effective policies to evaluate and manage
 present at all games involving contact-sports. The settlement also
                                                                       concussions, leaving millions of players vulnerable to long-lasting
 creates reporting mandates for concussions and their treatment.
                                                                       brain injury.




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PRACTICE AREAS

Sports Litigation

 The settlement against six of the largest youth soccer                 > NCAA: Scholarships/Grants-In-Aid (GIAs)
 organizations completely eliminates heading for youth soccer’s         In a first-of-its-kind antitrust action and potentially far-reaching
 youngest players, greatly diminishing risks of concussions and         case, Hagens Berman filed a class-action affecting approximately
 traumatic head injuries. Prior to the settlement, no rule limited      40,000 Division I collegiate athletes who played men’s or
 headers in children’s soccer.                                          women’s basketball, or FBS football, brought against the NCAA
                                                                        and its most powerful members, including the Pac-12, Big Ten,
 It also sets new benchmarks for concussion measurement
                                                                        Big-12, SEC and ACC, claiming these entities violated federal
 and safety protocols, and highlights the importance of on-staff
                                                                        antitrust laws by drastically reducing the number of scholarships
 medical personnel at youth tournaments. Under the settlement,
                                                                        and financial aid student-athletes receive to an amount below
 youth players who have sustained a concussion during practice
                                                                        the actual cost of attendance and far below what the free market
 or a game will need to follow certain return-to-play protocols
                                                                        would bare.
 before they are allowed to play again. Steve Berman, a youth
 soccer coach, has seen first-hand the settlement’s impacts and         The firm continues to fight on behalf of student-athletes to level
 life-changing effects every time young athletes take to the field,     the playing field and bring fairness to college sports and players.
                                                                        The case resulted in a $208.9 million settlement, bringing an
> NCAA: Transfer Antitrust
                                                                        estimated average amount of $6,500 to each eligible class
 Hagens Berman has also recently taken on the NCAA on behalf
                                                                        member who played his or her sport for four years.
 of several highly recruited college athletes whose scholarships
 were revoked after a coaching change, or after the student-            In March of 2019, the firm spearheaded the trial on the injunctive
 athletes sought to transfer to another NCAA-member school. The         aspect of the case which resulted in a change of NCAA rules
 suit claims that the organization’s limits and Draconian transfer      limiting the financial treatment of athletes. The injunction
 regulations violate federal antitrust laws.                            will prohibit the NCAA from enforcing any rules that fix or
                                                                        limit compensation provided to college-athletes by schools or
 It the firm’s most recent suit against the sports-governing entity,
                                                                        conferences in consideration for their athletic services other than
 a Division I student-athlete at Northwestern University was faced
                                                                        cash compensation untethered to education-related expenses.
 with repeated harassment from the university to transfer, in order
                                                                        According to the Court, the NCAA is “permanently restrained and
 to underhandedly free up his athletic scholarship. According
                                                                        enjoined from agreeing to fix or limit compensation or benefits
 to the complaint, the university resorted to falsified records of
                                                                        related to education” that conferences may make available.
 misconduct, verbal harassment and more.
                                                                       > Pop Warner
 The firm’s case hinges on a destructive double-standard. While
                                                                        Hagens Berman represents youth athletes who have suffered
 Non-student-athletes are free to transfer and are eligible for
                                                                        traumatic brain injuries due to gross negligence, and filed a
 a new scholarship without waiting a year, and coaches often
                                                                        lawsuit on behalf of former Pop Warner football player Donnovan
 transfer to the tune of a hefty pay raise, student-athletes are
                                                                        Hill and his mother Crystal Dixon. The suit claims that the league
 penalized and forced to sit out a year before they can play
                                                                        insisted Hill use improper and dangerous tackling techniques
 elsewhere, making them much less sought after by other college
                                                                        which left the then 13-year-old paralyzed from the neck down.
 athletic programs. Hagens Berman continues to fights for
 student-athletes’ rights to be treated fairly and terminate the        Hagens Berman sought to hold Pop Warner, its affiliates, Hill’s
 NCAA’s anticompetitive practices and overbearing regulations           coaches and members of the Lakewood Pop Warner board of
 that limit players’ options and freedoms.                              directors accountable for the coaches’ repeated and incorrect
                                                                        instruction that Hill and his teammates tackle opposing players

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PRACTICE AREAS

Sports Litigation

 by leading with the head. In January of 2016, the firm reached           serious safety issue at stake, the firm continues to urge MLB and
 a settlement on behalf of Donnovan and his mother, the details           its commissioner to make these more than recommendations to
 of which were not released. Sadly, months later, 17-year-                help end senseless and avoidable injuries to baseball’s biggest
 old Donnovan passed away. The firm believes that his case                fans.
 will continue to have a lasting impact on young athletes for
                                                                         > Other Cases
 generations and will help ensure safety in youth sports.
                                                                          In addition to its class actions, Hagens Berman has filed several
> MLB Foul Ball Injuries                                                  individual cases to uphold the rights of athletes and ensure a fair
 Hagens Berman filed a class-action lawsuit on behalf of baseball         and safe environment. The firm has filed multiple individual cases
 fans, seeking to extend safety netting to all major and minor            to address concussions and other traumatic head injuries among
 league ballparks from foul pole to foul pole. The suit alleges that      student-athletes at NCAA schools and in youth sports. Hagens
 tens of millions attend an MLB game annually, and every year             Berman continues to represent the interests of athletes and find
 fans of all ages, but often children, suffer horrific and preventable    innovative and effective applications of the law to uphold players’
 injuries, such as blindness, skull fractures, severe concussions         rights.
 and brain hemorrhages when struck by a fast-moving ball or
                                                                          The firm has also brought many concussions cases on behalf of
 flying shrapnel from a shattered bat.
                                                                          individual athletes, challenging large universities and institutions
 In December of 2015, MLB’s commissioner Rob Manfred issued               for the rights those who have suffered irreversible damage due
 a recommendation to all 30 MLB teams to implement extended               to gross negligence and lack of even the most basic concussion-
 safety measures, including additional safety netting at ballparks.       management guidelines.
 While the firm commends the league for finally addressing the




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PRACTICE AREAS

Whistleblower Litigation

Hagens Berman represents whistleblowers under various programs at both the state and
federal levels. All of these whistleblower programs reward private citizens who blow the whistle
on fraud. In many cases, whistleblowers report fraud committed against the government and
may sue those individuals or companies responsible, helping the government recover losses.

Our depth and reach as a leading national plaintiffs’ firm with         > In U.S. ex rel. Lagow v. Bank of America
significant success in varied litigation against industry leaders in     Represented former District Manager at Landsafe, Countrywide
finance, health care, consumer products, and other fields causes         Financial’s mortgage appraisal arm, who alleged systematic
many whistleblowers to seek us to represent them in claims               abuse of appraisal guidelines as a means of inflating mortgage
alleging fraud against the government.                                   values.
                                                                         RESULT:   The case was successful, ultimately triggering a
Our firm also has several former prosecutors and other
                                                                         settlement of $1 billion, and our client received a substantial
government attorneys in its ranks and has a long history of working
                                                                         reward.
with governments, including close working relationships with
attorneys at the U.S. Department of Justice. The whistleblower          > In U.S. ex rel. Mackler v. Bank of America
programs under which Hagens Berman pursues cases include:                Represented a whistleblower who alleged that Bank of America
                                                                         failed to satisfy material conditions of its government contract to
FALSE CLAIMS ACT
                                                                         provide homeowners mortgage relief under the HAMP program.

Under the federal False Claims Act, and more than 30 similar             RESULT:   The case succeeded and was settled as part of the 2012

state laws, a whistleblower reports fraud committed against the          global mortgage settlement, resulting in an award to our client.

government, and under the law’s Qui Tam provision, may file suit
                                                                        > In U.S. ex rel. Horwitz v. Amgen
on its behalf to recover lost funds. False claims acts are one of
                                                                         Represented Dr. Marshall S. Horwitz, who played a key role in
the most effective tools in fighting Medicare and Medicaid fraud,
                                                                         uncovering an illegal scheme to manipulate the scientific record
defense contractor fraud, financial fraud, under-payment of
                                                                         regarding two of Amgen’s blockbuster drugs.
royalties, fraud in general services contracts and other types of
                                                                         RESULT:   $762 million in criminal and civil penalties levied by the
fraud perpetrated against governments.
                                                                         U.S. Department of Justice and an award to our client.

The whistleblower initially files the case under seal, giving it only
                                                                        > In U.S. ex rel. Thomas v. Sound Inpatient Physicians Inc. and
to the government and not to the defendant, which permits the
                                                                         Robert A. Bessler
government to investigate. After the investigation, the government
                                                                         Represented a former regional vice president of operations for
may take over the whistleblower’s suit, or it may decline. If the
                                                                         Sound Physicians, who blew the whistle on Sound’s alleged
government declines, the whistleblower can proceed alone on
                                                                         misconduct.
his or her behalf. In successful suits, the whistleblower normally
                                                                         RESULT:   Tacoma-based Sound Physicians agreed to pay the United
receives between 15 and 30 percent of the government’s recovery
                                                                         States government $14.5 million.
as a reward.
                                                                        > In U.S. ex rel. Plaintiffs v. Center for Diagnostic Imaging Inc.
Since 1986, federal and state false claims act recoveries have
                                                                         In May 2010, Hagens Berman joined as lead trial counsel a qui
totaled more than $22 billion. Some examples of our cases brought
                                                                         tam lawsuit on behalf of two whistleblowers against Center for
under the False Claims Act include:

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PRACTICE AREAS

Whistleblower Litigation

  Diagnostic Imaging, Inc. (CDI), alleging that CDI violated anti-       Markets, the second-largest financial exchange in the country).
  kickback laws and defrauded federally funded health programs by        The exchanges agreed to pay $14 million to settle charges that the
  presenting false claims for payment.                                   exchanges failed to accurately and completely disclose how order
  RESULT:   In 2011, the government intervened in the claims,            types functioned on its exchanges and for selectively providing
  which the company settled for approximately $1.3 million.              such information only to certain high-frequency trading firms.
  The government declined to intervene, however, in the no-
                                                                         Hagens Berman also represents an anonymous whistleblower
  written-orders and kickback claims, leaving those claims for
                                                                         who brought his concerns and original analysis related to the May
  the whistleblowers and their counsel to pursue on their own.
                                                                         2, 2010 Flash Crash to the CFTC after hundreds of hours spent
  The non-intervened claims settled for an additional $1.5 million
                                                                         analyzing data and other information.
  payment to the government.

> Medtronic
                                                                         Both the U.S. Commodity Futures Trading Commission (CFTC)
On Feb. 19, 2008 the court unsealed a qui tam lawsuit brought
                                                                         and the Department of Justice, in separate criminal and civil
by Hagens Berman against Medtronic, one of the world’s largest
                                                                         enforcement actions, brought charges of market manipulation and
medical technology companies, for fraudulent medical device
                                                                         spoofing against Nav Sarao Futures Limited PLC (Sarao Futures)
applications to the FDA and off-label promotion of its biliary
                                                                         and Navinder Singh Sarao (Sarao) based on the whistleblower’s
devices.
                                                                         information.
RESULT:   The case settled in 2012 for an amount that remained under
seal.                                                                    Hagens Berman has worked alongside government officials and
                                                                         regulators, establishing the credibility necessary to bring a case to
SECURITIES AND EXCHANGE COMMISSION /                                     the SEC or CFTC. When Hagens Berman brings a claim, we work
COMMODITY FUTURES TRADING COMMISSION                                     hard to earn their respect and regulators pay attention.

Since implementation of the SEC/CFTC Dodd Frank whistleblower            A few of the firm’s most recent whistleblower cases in this area
programs in 2011, Hagens Berman has naturally transitioned into          include:
representation of whistleblowers with claims involving violations of
the Securities Exchange Act and the Commodities Exchange Act.            > EDGA Exchange Inc. and EDGX Exchange Inc.
                                                                           Represented HFT whistleblower and market expert, Haim Bodek,
Unlike the False Claims Act, whistleblowers with these new                 in an SEC fraud whistleblower case against two exchanges
programs do not initially file a sealed lawsuit. Instead, they provide     formerly owned by Direct Edge Holdings and since acquired by
information directly to the SEC or the CFTC regarding violations of        Bats Global Markets, the second-largest financial exchange in the
the federal securities or commodities laws. If the whistleblower’s         country for spoofing.
information leads to an enforcement action, they may be entitled to        RESULT:   The case prompted the U.S. Securities and Exchange
between 10 and 30 percent of the recovery.                                 Commission to bring record-breaking fine of $14 million against
                                                                           defendants, the largest ever brought against a financial exchange.
The firm currently represents HFT whistleblower and market
expert, Haim Bodek, in an SEC fraud whistleblower case that
prompted the U.S. Securities and Exchange Commission to bring
record-breaking fines against two exchanges formerly owned
by Direct Edge Holdings (and since acquired by Bats Global



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PRACTICE AREAS

Whistleblower Litigation

> Nav Sarao Futures Limited PLC                                       INTERNAL REVENUE SERVICE
 Hagens Berman represents an anonymous whistleblower who
                                                                      Hagens Berman also represents whistleblowers under the IRS
 brought his concerns and original analysis to the CFTC after
                                                                      whistleblower program enacted with the Tax Relief and Health Care
 hundreds of hours spent analyzing data and other information.
                                                                      Act of 2006.
 The claim brought about legal action against a market
 manipulator who profited more than $40 million from market           The IRS program offers rewards to those who come forward
 fraud and contributed to the May 6, 2010 Flash Crash.                with information about persons, corporations or any other entity
 RESULT:   Both the CFTC and the Department of Justice, in separate   that cheats on its taxes. In the event of a successful recovery of
 criminal and civil enforcement actions, brought charges of market    government funds, a whistleblower can be rewarded with up to 30
 manipulation and spoofing against Nav Sarao Futures Limited          percent of the overall amount collected in taxes, penalties and legal
 PLC and Navinder Singh Sarao based on the whistleblower’s            fees.
 information. The case is still pending under seal.
                                                                      Hagens Berman helps IRS whistleblowers present specific, credible
                                                                      tax fraud information to the IRS. Unlike some traditional False
                                                                      Claims Act firms, Hagens Berman has experience representing
                                                                      governments facing lost tax revenue due to fraud, making us well-
                                                                      positioned to prosecute these cases.




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                                               Appellate Victories




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APPELLATE VICTORIES

Strengthening Consumer Law

At Hagens Berman, we distinguish ourselves not merely by the results we obtain, but by how
we obtain them. Few class-action firms have our firm’s combination of resources and acumen
to see a case through as long as needed to obtain a favorable outcome. Our attorneys were
instrumental in obtaining these federal appellate decisions that have shaped consumer law and
bolstered the rights of millions nationwide:

> In Matter of Motors Liquidation Co., 829 F.3d 135 (2d Cir. 2016)        > Agnew v. Nat’l Collegiate Athletic Ass’n, 683 F.3d 328 (7th Cir.
  (General Motors bankruptcy reorganization did not bar claims              2012) (NCAA bylaws limiting scholarships per team and
  stemming from defective ignition switches)                                prohibiting multiyear scholarships are subject to antitrust scrutiny
> George v. Urban Settlement Servs., 833 F.3d 1242 (10th Cir. 2016)         and do not receive procompetitive justification at pleading stage)
  (complaint adequately alleged Bank of America’s mortgage                > In re Lupron Mktg. & Sales Practices Litig., 677 F.3d 21, 24 (1st Cir.
  modification program violated RICO)                                       2012) (approving cy pres provision in $150 million settlement)
> In re Loestrin 24 Fe Antitrust Litig., 814 F.3d 538 (1st Cir. 2016)     > In re Pharm. Indus. Average Wholesale Price Litig., 582 F.3d 156
  (“reverse payments” for antitrust purposes under Actavis are not          (1st Cir. 2009) (AstraZeneca illegally published inflated average
  limited to cash payments)                                                 wholesale drug prices, thereby giving windfall to physicians and
> Osborn v. Visa Inc., 797 F.3d 1057 (D.C. Cir. 2015) (complaint            injuring patients who paid inflated prices)
  adequately alleged Visa and MasterCard unlawfully agreed to
  restrain trade in setting ATM access fees)                              We set ourselves apart not only by getting results but by litigating
> Little v. Louisville Gas & Elec. Co., 805 F.3d 695 (6th Cir. 2015)      every case through to finish – to trial and appeal, if necessary.
  (Clean Air Act did not preempt state nuisance claims against coal       This tenacious drive has led our firm to generate groundbreaking
  plant for polluting surrounding community)                              precedents in consumer law.
> City of Miami v. Citigroup Inc., 801 F.3d 1268 (11th Cir. 2015)
                                                                          Hagens Berman has also been active in state courts nationwide.
  (reversing dismissal of complaint alleging Citigroup violated Fair
                                                                          Notable examples of our victories include:
  Housing Act by pattern of discriminatory lending)
> Rajagopalan v. NoteWorld, LLC, 718 F.3d 844 (9th Cir. 2013) (non-       > Garza v. Gama, 379 P.3d 1004 (Ariz. Ct. App. 2016) (reinstating
  party could not invoke arbitration clause against plaintiff suing         certified class in wage-and-hour action prosecuted by Hagens
  debt services provider)                                                   Berman since 2005)
> In re Neurontin Mktg. & Sales Practices Litig., 712 F.3d 21 (1st Cir.   > In re Farm Raised Salmon Cases, 42 Cal. 4th 1077 (Cal. 2008)
  2013) (affirming $142 million verdict for injury suffered from            (Federal Food, Drug and Cosmetic Act did not preempt state
  RICO scheme by Neurontin manufacturer Pfizer)                             claims for deceptive marketing of food products)
> In re NCAA Student-Athlete Name & Likeness Licensing Litig., 724        > Pickett v. Holland Am. Line-Westours, Inc., 35 P.3d 351 (Wash. 2001)
  F.3d 1268 (9th Cir. 2013) (First Amendment did not shield video           (reversing state court of appeals and upholding class action
  game developer’s use of college athletes’ likenesses)                     settlement with cruise line)
> Garcia v. Wachovia Corp., 699 F.3d 1273 (11th Cir. 2012) (Wells
  Fargo could not rely on Concepcion to evade waiver of any right
  to compel arbitration)


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                   Exhibit B
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                                                                              In re Tezos Securities Litigation
                                                                                 Time and Billing by Category
                                                                               Inception through July 24, 2020
                                                                           HAGENS BERMAN SOBOL SHAPIRO LLP
Timekeeper                  Position             A          B          C          D          E           F           G          H              I          J           Total            Hourly Rate Lodestar
Reed Kathrein               Partner                  24.0        4.0       29.0       46.5       31.0         93.0       30.0         0.0          50.0         0.0            307.5   $       850 $ 261,375
Danielle Smith              Associate                94.0       15.7       17.3       38.0       29.9        410.0       40.6         0.0           7.1         0.0            652.6   $       525 $ 342,615
Lisa Lin                    Paralegal                 5.0        1.4        2.5       31.7        0.0          7.3        0.0         0.0           0.0         0.0             47.9   $       300 $   14,370
                                                                                                                                                                                 0.0                $       -
                                                                                                                                                                                 0.0                $       -
                                                                                                                                                                                 0.0                $       -
                                                                                                                                                                                 0.0                $       -
                                                                                                                                                                                 0.0                $       -
                                                                                                                                                                                 0.0                $       -
                                                                                                                                                                                 0.0                $       -
                                                                                                                                                                                 0.0                $       -
                                                                                                                                                                                 0.0                $       -
Grand Total                                        123.0       21.1       48.8      116.2       60.9       510.3        70.6           0.0        57.1           0.0          1008.0   $    613.45 $ 618,360
 % of Total Hours                                 12.2%       2.1%       4.8%      11.5%       6.0%       50.6%        7.0%         0.0%         5.7%         0.0%
 Lodestar                                   $    71,250 $   12,063 $   34,483 $   68,985 $   42,048 $   296,490 $    46,815 $        -     $   46,228 $        -     $    618,360
 % of Lodestar                                    11.5%       2.0%       5.6%      11.2%       6.8%       47.9%        7.6%         0.0%         7.5%         0.0%


                        Category Key
 A = Investigation, Research, Complaints
 B = TRO / Preliminary Injunction / Service
 C = Leadership / Intervention Motions
 D = Case Management, Client Updates
 E = Ongoing Research
 F = Non-Discovery Motions and Briefing
 G = Discovery Negotiations, Disputes, Briefing
 H = Discovery / Document Review
 I = Settlement Negotiations
 J = Settlement Approval, Class Member Communications
